        Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 1 of 49




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

_________________________________________
                                          )
In re:                                    )                           Chapter 11
                                          )
SOUTHERN FOODS GROUPS, LLC, et al.,       )                           Case No. 19-36313 (DRJ)
                                          )
            Debtors. 1                    )                           Jointly Administered
                                          )
_________________________________________ )

   MOTION OF DEBTORS FOR ENTRY OF ORDERS (I)(A) APPROVING BIDDING
       PROCEDURES FOR SALE OF DEBTORS’ ASSETS, (B) APPROVING THE
   DESIGNATION OF DAIRY FARMERS OF AMERICA, INC. AS THE STALKING
        HORSE BIDDER FOR SUBSTANTIALLY ALL OF DEBTORS’ ASSETS,
    (C) AUTHORIZING AND APPROVING ENTRY INTO THE STALKING HORSE
       ASSET PURCHASE AGREEMENT, (D) APPROVING BID PROTECTIONS,
     (E) SCHEDULING AUCTION FOR, AND HEARING TO APPROVE, SALE OF
DEBTORS’ ASSETS, (F) APPROVING FORM AND MANNER OF NOTICES OF SALE,
        AUCTION, AND SALE HEARING, (G) APPROVING ASSUMPTION AND
     ASSIGNMENT PROCEDURES, AND (H) GRANTING RELATED RELIEF AND
  (II)(A) APPROVING SALE OF DEBTORS’ ASSETS FREE AND CLEAR OF LIENS,
 CLAIMS, INTERESTS, AND ENCUMBRANCES, (B) AUTHORIZING ASSUMPTION
  AND ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES,
                    AND (C) GRANTING RELATED RELIEF
______________________________________________________________________________




        1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods
Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty,
LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean
Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean
Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC
(7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896);
Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners,
LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin
Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s
Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest
Ice Cream Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC
(7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039);
Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan,
LLC (7200). The debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
       Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 2 of 49




       A HEARING WILL BE CONDUCTED ON THIS MATTER ON MARCH 12, 2020 AT 2:00
       P.M. (CT) IN COURTROOM 400, 515 RUSK STREET, HOUSTON, TEXAS 77002,
       BEFORE THE HONORABLE DAVID R. JONES. IF YOU OBJECT TO THE RELIEF
       REQUESTED, YOU MUST RESPOND IN WRITING, SPECIFICALLY ANSWERING
       EACH PARAGRAPH OF THIS PLEADING. UNLESS OTHERWISE DIRECTED BY
       THE COURT, YOU MUST FILE YOUR RESPONSE WITH THE CLERK OF THE
       BANKRUPTCY COURT WITHIN 21 DAYS FROM THE DATE YOU WERE SERVED
       WITH THIS PLEADING. YOU MUST SERVE A COPY OF YOUR RESPONSE ON THE
       PERSON WHO SENT YOU THE NOTICE; OTHERWISE, THE COURT MAY TREAT
       THE PLEADING AS UNOPPOSED AND GRANT THE RELIEF REQUESTED.

       Southern Foods Group, LLC, Dean Foods Company, and certain of their debtor affiliates

(collectively, the “Debtors”), each of which is a debtor and debtor in possession in the above-

captioned chapter 11 cases (the “Chapter 11 Cases”), hereby file this Motion of Debtors for

Entry of Orders (I)(a) Approving Bidding Procedures for Sale of Debtors’ Assets, (b) Approving

the Designation of Dairy Farmers of America, Inc. as the Stalking Horse Bidder for

Substantially All of Debtors’ Assets, (c) Authorizing and Approving Entry into the Stalking Horse

Asset Purchase Agreement, (d) Approving Bid Protections, (e) Scheduling Auction for, and

Hearing To Approve, Sale of Debtors’ Assets, (f) Approving Form and Manner of Notices of

Sale, Auction, and Sale Hearing, (g) Approving Assumption and Assignment Procedures, and

(h) Granting Related Relief and (II)(a) Approving Sale of Debtors’ Assets Free and Clear of

Liens, Claims, Interests, and Encumbrances, (b) Authorizing Assumption and Assignment of

Executory Contracts and Unexpired Leases, and (c) Granting Related Relief (this “Motion”).

This Motion is supported by (i) the Declaration of Anthony Magro in Support of the Motion of

Debtors for Entry of Orders (I)(a) Approving Bidding Procedures for Sale of Debtors’ Assets,

(b) Approving the Designation of Dairy Farmers of America, Inc. as the Stalking Horse Bidder

for Substantially All of Debtors’ Assets, (c) Authorizing and Approving Entry into the Stalking

Horse Asset Purchase Agreement, (d) Approving Bid Protections, (e) Scheduling Auction for,

and Hearing To Approve, Sale of Debtors’ Assets, (f) Approving Form and Manner of Notices of

Sale, Auction, and Sale Hearing, (g) Approving Assumption and Assignment Procedures, and


                                               2
         Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 3 of 49




(h) Granting Related Relief and (II)(a) Approving Sale of Debtors’ Assets Free and Clear of

Liens, Claims, Interests, and Encumbrances, (b) Authorizing Assumption and Assignment of

Executory Contracts and Unexpired Leases, and (c) Granting Related Relief (the

“Magro Declaration”), which is attached hereto and incorporated by reference herein, and (ii)

the entire record of the Chapter 11 Cases. In further support of this Motion, the Debtors

respectfully state as follows:

                                                 Relief Requested

         1.       By this Motion, pursuant to sections 105(a), 363, 365, 503, and 507 of title 11 of

the United States Code (the “Bankruptcy Code”) and Rules 2002, 6004, 6006, 9007, and 9014

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Debtors request

entry of the following:

                  a.        an order, substantially in the form attached hereto (the “Bidding
                            Procedures Order”),

                            i.       authorizing and approving the bidding procedures, substantially in
                                     the form attached to the Bidding Procedures Order (the “Bidding
                                     Procedures”), in connection with the sale of the Bid Assets (as
                                     defined herein) 2 (the “Sale Transaction” 3);

                            ii.      authorizing and approving the Debtors’ entry into the Stalking
                                     Horse Agreement (as defined herein) with Dairy Farmers of
                                     America, Inc., a copy of which is attached hereto;

                            iii.     approving certain Bid Protections in favor of the Stalking Horse
                                     Bidder (as defined below) in connection with the Stalking Horse
                                     Agreement and in accordance with the terms and conditions set
                                     forth in the Bidding Procedures;
         2
           Notwithstanding the Debtors’ request for authorization and approval of the Bidding Procedures, the
Debtors reserve the right to seek by separate motion, in the exercise of their sound business judgment and fiduciary
duties (in consultation with the Consultation Parties (as defined herein)), the authority to sell assets of the Debtors’
estates (that do not constitute all or substantially all of the Debtors’ assets) pursuant to section 363 of the Bankruptcy
Code.
         3
           As described below, the Bidding Procedures provide that there may be one or several Sale Transactions.
To the extent that this Motion refers to the Sale Transaction, or terms related thereto, in the singular it shall include
the plural, and vice versa.



                                                            3
Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 4 of 49




                    iv.      scheduling an auction of the Bid Assets (the “Auction”) to be held
                             on April 20, 2020 at 10:00 a.m. (prevailing Eastern Time);

                    v.       scheduling a hearing (the “Sale Hearing”) to consider approval of
                             the proposed Sale Transaction to be held on April [27], 2020 at
                             [·]:00 [·].m. (prevailing Central Time) 4;

                    vi.      authorizing and approving the (A) notice of the sale of the Bid
                             Assets, the Potential Bidder Deadline, the Bid Deadline, and the
                             Auction and Sale Hearing (each as defined herein), substantially in
                             the form attached to the Bidding Procedures Order (the “Sale
                             Notice”), (B) notice to each relevant non-Debtor counterparty
                             (each, a “Counterparty”) to an executory contract or unexpired
                             lease listed on the Potential Assumed Contracts Schedule (as
                             defined below) (collectively, the “Contracts and Leases” and
                             each an “Assumed Contract” or “Assumed Lease”) regarding the
                             Debtors’ potential assumption and assignment of such
                             Counterparty’s Assumed Contracts or Assumed Leases
                             (collectively, the “Potential Assumed Contracts”) and the
                             amount necessary to cure any defaults thereunder (the “Cure
                             Costs”), substantially in the form attached to the Bidding
                             Procedures Order (the “Potential Assumption and Assignment
                             Notice”), and (C) notice to each Counterparty listed on the
                             Proposed Assumed Contracts Schedule (as defined herein),
                             substantially in the form attached to the Bidding Procedures Order
                             (the “Proposed Assumption and Assignment Notice”);

                    vii.     authorizing and approving procedures for the assumption and
                             assignment of the Contracts and Leases and the determination of
                             Cure Costs with respect thereto (collectively, the “Assumption
                             and Assignment Procedures”); and

                    viii.    granting related relief.

           b.       an order (the “Sale Order”) authorizing and approving the following:

                    i.       the sale of the Bid Assets free and clear of all liens, claims,
                             interests, and encumbrances, except certain permitted
                             encumbrances as determined by the Debtors and any purchaser of
                             the Bid Assets;

                    ii.      the assumption and assignment of the proposed Assumed Contracts
                             and Assumed Leases (collectively, the “Proposed Assumed
                             Contracts”) in connection with the proposed Sale Transaction; and


4
    This date remains subject to Court approval.



                                                   4
         Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 5 of 49




                      iii.    granting related relief.

                              Jurisdiction, Venue, and Authority

         2.    The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334 and the Order of

Reference to Bankruptcy Judges, General Order 2012-6 (S.D. Tex. May 24, 2012) (Hinojosa,

C.J.).

         3.    This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). In

addition, the Debtors confirm their consent, pursuant to Bankruptcy Rule 7008 and Rule 7008-1

of the Bankruptcy Local Rules for the United States Bankruptcy Court for the Southern District

of Texas (the “Local Rules”), to the entry of a final order by the Court in connection with this

Motion to the extent that it is later determined that the Court, absent consent of the parties,

cannot enter final orders or judgments in connection herewith consistent with Article III of the

United States Constitution. Venue of the Chapter 11 Cases and related proceedings is proper in

this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                           Background

         4.    On November 12, 2019 (the “Petition Date”), each of the Debtors filed a

voluntary petition for relief under chapter 11 of the Bankruptcy Code.       The Debtors have

continued in possession of their property and have continued to operate and manage their

businesses as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

Code.

         5.    On November 22, 2019, the Office of the United States Trustee for the Southern

District of Texas (the “U.S. Trustee”) appointed an Official Committee of Unsecured Creditors

(the “Committee”). See Notice of Appointment of Committee of Unsecured Creditors [D.I. 288].




                                                 5
       Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 6 of 49




       6.         No request has been made for the appointment of a trustee or examiner in the

Chapter 11 Cases.

       7.         Additional information about the Debtors’ businesses and affairs, capital structure,

and prepetition indebtedness, and the events leading up to the Petition Date, can be found in the

Declaration of Gary Rahlfs in Support of Debtors’ Chapter 11 Proceedings and First Day

Pleadings [D.I. 46] (the “Rahlfs Declaration”), which is incorporated herein by reference.

       8.         The Chapter 11 Cases are being jointly administered pursuant to Bankruptcy Rule

1015(b) and the Order Directing Joint Administration of Chapter 11 Cases [D.I. 9] entered by

the Court on November 12, 2019 in each of the Chapter 11 Cases.

                                                 The Bid Assets 5

       9.         The Debtors are a leading public food and beverage company and the largest

processor and direct-to-store distributor of fresh fluid milk and other dairy and dairy case

products in the United States. The Debtors manufacture, market, and distribute a wide variety of

branded and private label dairy and dairy case products, including fluid milk, ice cream, cultured

dairy products, creamers, ice cream mix, and other dairy products to retailers, distributors,

foodservice outlets, educational institutions, and governmental entities across the United States.

       10.        As described more fully in the Rahlfs Declaration, the Debtors sell their products

under national, regional, or local proprietary or licensed brands. Products not sold under these

brands are sold under a variety of private labels. The Debtors’ brands include DairyPure®, the

country’s largest fresh, white milk national brand, and TruMoo®, the leading national flavored

milk brand. As of December 31, 2019, the Debtors’ national, local, and regional proprietary and

licensed brands included the following:


       5
           The assets and operations described in this section are referred to collectively as the “Bid Assets” herein.



                                                           6
       Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 7 of 49




  Alta Dena®                     Jilbert™                                      Pog® (licensed brand)
  Arctic Splash®                 Knudsen® (licensed brand)                     Price’s™
  Barber’s Dairy®                LAND O LAKES® (licensed brand)                Purity™
  Berkeley Farms®                Land-O-Sun & design®                          ReadyLeaf®
  Broughton™                     Lehigh Valley Dairy Farms®                    Reiter™
  Brown Cow®                     Louis Trauth Dairy Inc.®                      Robinson™
  Brown’s Dairy®                 Mayfield®                                     Schepps®
  Chug®                          McArthur®                                     Sonora™
  Country Fresh™                 Meadow Brook®                                 Steve's®
  Country Love®                  Meadow Gold®                                  Stroh’s®
  Creamland™                     Model Dairy®                                  Swiss Dairy™
  DairyPure®                     Morning Glory®                                Swiss Premium™
  Dean’s®                        Nature’s Pride®                               TruMoo®
  Fieldcrest®                    Nurture®                                      T.G. Lee®
  Friendly's®                    Nutty Buddy®                                  Turtle Tracks®
  Fruit Rush®                    Oak Farms®                                    Tuscan®
  Gandy’s™                       Orchard Pure®                                 Uncle Matt's Organic®
  Garelick Farms®                Organic Valley® (licensed by joint venture)   Viva®
  Good Karma®                    Over the Moon®
  Hygeia®                        PET® (licensed brand)

       11.      The Debtors currently operate 57 manufacturing facilities (each a “Facility”) in

29 states located largely based on customer needs and other market factors, with distribution

capabilities across all 50 states. Due to the perishable nature of the Debtors’ products, they

deliver the majority of their products directly to their customers’ locations in a fleet of

approximately 5,000 refrigerated trucks or trailers that they own or lease. This form of delivery

is called a “direct-to-store delivery” or “DSD” system. The Debtors have one of the most

extensive refrigerated DSD systems in the United States.

                                   Marketing and Sale Process

                12.    Evercore Group L.L.C. (“Evercore”) has been engaged as investment

banker to the Debtors since February 2019. The Debtors initially retained Evercore to assist with

a broad evaluation of potential strategic alternatives, including a sale of the enterprise, strategic

business combinations, the disposition of certain assets, the formation of new joint ventures, and




                                                   7
       Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 8 of 49




other options to re-energize the Debtors’ stand-alone business. It was ultimately determined that

these options could not be pursued for a variety of reasons, including the existence of potential

contingent liabilities that the Debtors faced related to the underfunded status of certain multi-

employer pension plans in which the Debtors participated. Such potential liabilities significantly

impaired the Debtors’ ability to pursue any strategic transactions with third parties outside of a

bankruptcy proceeding.

               13.    By early October 2019, the Debtors saw a sharp decline in their third

quarter 2019 results and realized that they faced a financial outlook that was deteriorating more

rapidly than prior forecasts. Evercore explored a variety of potential out-of-court financing

transactions, which led to discussions with a number of potential lenders, including certain

holders of the Debtors’ prepetition senior unsecured notes. Ultimately, however, the Debtors

concluded, in consultation with Evercore and other advisors, that such an out-of-court transaction

was not actionable under the circumstances. Accordingly, the Debtors commenced the Chapter

11 Cases in order to manage liquidity, prevent potentially ruinous customer and vendor fights,

and pursue the consummation of one or more sale transactions or a plan of reorganization

through a court-supervised process.

               14.    To finance the Debtors’ businesses as they pursue such transactions, the

Debtors sought and obtained senior secured superpriority post-petition financing in the amount

of $425 million and an amendment and restatement of the receivables securitization facility in

the amount of $425 million. After considering a wide-range of potential strategic alternatives

and negotiating with all relevant stakeholders and counterparties, Evercore and the Debtors

ultimately determined that a sale of all or substantially all of the Debtors’ assets would be a

potential path to maximize and preserve value for the benefit of the Debtors’ stakeholders.




                                                8
        Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 9 of 49




               15.    To that end, in October 2019, Evercore and the Debtors engaged in

negotiations and discussions with Dairy Farmers of America, Inc. (“DFA”). As the Debtors’

long-time commercial partner and raw milk vendor, DFA was considered likely to be able to

contribute significant value to the Debtors’ businesses and negotiate and reach a sale agreement

with the Debtors prior to the Petition Date. Although the Debtors and DFA did not enter into a

stalking horse agreement by the Petition Date, the discussions were significantly advanced such

that the Debtors were able to publicly announce on November 12, 2019 that they were engaged

in advanced discussions with DFA with regard to its role as a potential stalking horse bidder for

the purchase of substantially all of the Debtors’ assets pursuant to section 363 of the Bankruptcy

Code.

        16.    After the Petition Date, Evercore considerably expanded the marketing process

for the Bid Assets. Evercore began communicating with additional potential strategic and

financial buyers while it continued to engage with DFA to explore a sale of the Bid Assets

through the Chapter 11 Cases.

        17.    Over the course of approximately three months, Evercore contacted and/or

received inbound interests from nearly 100 entities, including 55 potential strategic buyers

(among which were 18 regional dairy companies) and 44 potential financial buyers. Based on

discussions with these entities, Evercore provided approximately 38 parties with confidential

information regarding the Debtors’ businesses after such parties executed non-disclosure

agreements with the Debtors. Several of these parties, including the Stalking Horse Bidder (as

defined below), expressed interest in considering a transaction with the Debtors and were granted

access to a data room containing additional confidential information regarding the Bid Assets.

Evercore provided additional details to these parties, including access to confidential diligence




                                                9
       Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 10 of 49




materials. At the same time, the Debtors and their advisors have been working extensively with

the ad hoc group of noteholders and their advisors regarding a possible plan or reorganization.

        18.      Following a competitive process and arm’s length negotiations, the Debtors

secured a bid (the “Stalking Horse Bid”) from DFA, pursuant to which DFA will serve as the

stalking horse bidder (hereinafter, the “Stalking Horse Bidder”) in a transaction to purchase

substantially all of the Bid Assets for an aggregate purchase price (subject to certain adjustments)

of $425 million along with the assumption of certain liabilities (such group of Bid Assets, the

“Stalking Horse Assets”) on the terms and conditions set forth in the Asset Purchase

Agreement, dated as of February 16, 2020, by and among the Debtors and the Stalking Horse

Bidder (the “Stalking Horse Agreement”). The Stalking Horse Assets consist of (a) 44 of the

Debtors’ 57 manufacturing facilities, including real estate, inventory, equipment and all other

assets necessary to operate such facilities, (b) all fluid and frozen assets associated with such

facilities, (c) certain real estate and equipment relating to one previously closed manufacturing

facility, (d) certain intangible assets, and (e) ownership interest in certain joint ventures, each, as

further specified in the Stalking Horse Agreement.

        19.      The Stalking Horse Agreement is the product of the extensive marketing efforts of

the Debtors and their advisors, in consultation with the Committee 6 and the Agents (as defined

below), which efforts are more fully described above and in the Magro Declaration. Given the

exigencies of the Debtors’ financial condition, and specifically, the Debtors’ distressed liquidity

situation, the Debtors believe that the timely sale of the Stalking Horse Assets in accordance with

the sale process outlined in this Motion is the best way to maximize value for the benefit of their


        6
          Although the Debtors consulted with the Agents and the Committee prior to filing this Motion, the Agents
and the Committee are still analyzing the transaction contemplated by the Stalking Horse Agreement, this Motion,
and the Bidding Procedures, and reserve all rights in connection therewith.



                                                       10
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 11 of 49




estates and stakeholders.

       20.     To ensure that the Stalking Horse Bid is in fact the highest or otherwise best offer

for the purchase of the Stalking Horse Assets, and to provide for the potential sale of additional

Bid Assets that are not included in the Stalking Horse Assets, the Debtors have developed

Bidding Procedures to govern the sale of the Stalking Horse Assets and all other Bid Assets. The

Bidding Procedures allow interested parties to submit bids for (a) all of the Bid Assets or (b)

particular lots of individual Bid Assets or combinations thereof as specified in the Bidding

Procedures, in each case, subject to the terms and provisions of the Bidding Procedures. The

Stalking Horse Agreement, therefore, sets a floor for the sale of the Stalking Horse Assets in a

competitive bidding process, which will benefit all of the Debtors’ stakeholders by helping to

ensure the highest or otherwise best offer for the Stalking Horse Assets.

       21.     The Debtors have carefully evaluated a number of qualitative and quantitative

factors in designing a process that they believe will maximize the value of their estates and

produce maximum recoveries.           This process includes both entry into the Stalking Horse

Agreement and approval of the Bidding Procedures, which are designed to (a) promote active

bidding from interested parties and (b) to elicit the highest or otherwise best offers available for

the Stalking Horse Assets and all other Bid Assets for the benefit of stakeholders. Moreover, the

Bidding Procedures provide the Debtors with the flexibility to consider bids in the form of

chapter 11 plans of reorganization.

       22.     The Debtors, in consultation with the Debtors’ advisors, believe that the process

and time periods set forth in the Bidding Procedures are reasonable and will provide parties with

sufficient time and information necessary to formulate bids to purchase the Bid Assets. In

formulating the Bidding Procedures and time periods contained therein, the Debtors balanced the




                                                 11
       Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 12 of 49




need to provide adequate and appropriate notice to parties in interest and to potential purchasers

with the need to efficiently sell the Bid Assets to maximize realizable value, all the while

preventing the disclosure of confidential information to competitors that could be damaging to

the business going forward. As described above and more fully in the Magro Declaration, the

Bid Assets have been extensively marketed by Evercore over approximately three months to a

broad group of strategic and financial buyers, who have been provided with substantial

information regarding the Bid Assets. Moreover, speed is critical in light of the Debtors’

obligations under the Senior Secured Superpriority Debtor-In-Possession Credit Agreement,

dated as of November 14, 2019 (as may be amended, supplemented, or otherwise modified form

time to time, the “DIP Credit Agreement”), and the need to ensure the Debtors maximize and

preserve value for all stakeholders. 7

        23.      Completion of the sale process in a timely manner will maximize the value of the

Bid Assets. The time periods set forth in the Bidding Procedures are prudent and consistent with

the case milestones set forth in the DIP Credit Agreement (which were negotiated and agreed to

among the advisors to the Debtors, the DIP Lenders 8, and the Committee), and failure to adhere

to such time periods could jeopardize the closing of a Sale Transaction. Thus, the Debtors have

determined that pursuing a Sale Transaction in the manner and within the time periods prescribed




        7
          The DIP Credit Agreement contains a milestone obligating the Debtors to file this Motion within 90 days
after the Petition Date, or February 10, 2020. See DIP Credit Agreement ¶ 5.14(d). The February 10, 2020
milestone has been extended to February 24, 2020.
         8
           The “DIP Lenders” shall have the meaning ascribed to such term in the Emergency Motion of Debtors
for Entry of Interim and Final Orders, Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503, 506, 507 and 552 (I)
Authorizing the Debtors to (A) Obtain Senior Secured Superpriority Post-Petition Financing, and (B) Use Cash
Collateral, (II) Granting Liens and Superpriority Administrative Claims, (III) Providing Adequate Protection to
Prepetition Secured Parties, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [D.I. 72] (the “DIP
Motion”).



                                                        12
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 13 of 49




in the Bidding Procedures is in the best interest of the Debtors’ estates and will provide

interested parties with sufficient opportunity to participate.

       24.     Accordingly, the Debtors believe that the Bidding Procedures, entry into the

Stalking Horse Agreement, and the related relief requested in this Motion will allow the Debtors

to efficiently accomplish a restructuring that is in the best interests of the Debtors’ estates and

their stakeholders. Therefore, the Debtors respectfully request that the Court grant the relief

requested herein.

                          The Proposed Sale and Bidding Procedures

A.     Summary of Key Terms of the Stalking Horse Bid

       25.     The Stalking Horse Agreement represents a binding bid to purchase the Stalking

Horse Assets. By this Motion, the Debtors request authority to provide the Stalking Horse

Bidder with standard stalking horse protections, in particular (a) the payment of a break-up fee in

an amount equal to $15,000,000.00 (the “Break-up Fee”) and (b) reimbursement of up to

$8,000,000.00 for reasonable and documented costs and expenses incurred by the Stalking Horse

bidder in connection with the negotiation and execution of, and the carrying out of its obligations

under, the Stalking Horse Agreement (other than such costs or expenses that the Stalking Horse

Bidder has agreed to pay thereunder) (the “Expense Reimbursement” and, together with the

Break-up Fee, the “Bid Protections”).

       26.     The Stalking Horse Agreement includes various customary representations,

warranties, and covenants by and from the Debtors and the Stalking Horse Bidder. In addition,

the Stalking Horse Agreement includes certain conditions to closing the contemplated Sale

Transaction and rights of termination related to the Chapter 11 Cases.




                                                  13
       Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 14 of 49




         27.      The pertinent terms of the proposed Stalking Horse Bid are summarized in the

following table. 9

               Term                                            Summary Description

Purchase Price                       The aggregate consideration for the Stalking Horse Assets shall
                                     be approximately $425 million, which shall consist of the
                                     following:
                                        i. cash consideration in the amount of $322 million; and
                                       ii. payment of cure costs associated with the Assumed DFA
                                            Milk Contracts in the amount of $103 million and pro rata
                                            reduction in Administrative Claims held by DFA up to
                                            $62.5 million.

                                     Portions of the purchase price equal to (x) $35 million to secure
                                     Debtors’ indemnification obligations with respect to certain
                                     customer claims and (y) $20 million to secure the parties’
                                     obligations in respect of a purchase price adjustment, if any, to
                                     the extent the Acquired Assets’ target working capital deviates
                                     from its closing date working capital will, in each case, be held in
                                     escrow subject to release upon the terms and conditions set forth
                                     in the Stalking Horse Agreement.
Acquired Assets;                     The Acquired Assets shall include:
Transferred Employees                   i. 44 of the Debtors’ 57 fluid and frozen facilities, including
                                             real estate, inventory, equipment, and all other assets
                                             necessary to operate such facilities and real estate,
                                             equipment and assets relating to one previously closed
                                             manufacturing facility (the “DFA-Acquired Facilities”);
                                       ii. certain intangible assets;
                                      iii. those of Debtors’ executory contracts that DFA elects to
                                             assume; and
                                      iv.    ownership interest in the Organic Valley joint venture and
                                             Mexican subsidiaries.

                                     DFA agrees to make employment offers to all of the Debtors’
                                     employees whose primary work location is a DFA-Acquired
                                     Facility or who otherwise provide services primarily in support of
                                     the Acquired Assets.

Excluded Assets                      The Excluded Assets shall include:

         9
           This summary is provided for the convenience of the Court and parties in interest. To the extent that there
is any conflict between this summary and the Stalking Horse Agreement, the latter governs in all respects.
Capitalized terms used but not otherwise defined in this summary shall have the meanings ascribed to such terms in
the Stalking Horse Agreement.



                                                         14
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 15 of 49




             Term                                    Summary Description

                                  i.   accounts receivable held in bankruptcy-remote entity;
                                 ii.   13 manufacturing facilities and operations at four branch
                                       locations;
                                iii.   all assets exclusively used by non-DFA-Acquired
                                       Facilities;
                                iv.    all vendor accounts receivable/rebates, insurance claims,
                                       excess equipment (e.g., leased equipment);
                                 v.    all causes of action against any director or officer related
                                       to any pre-closing period;
                                vi.    other non-core assets (as further specified in the Stalking
                                       Horse Agreement); and
                                vii.   Uncle Matt’s Business and ownership in Good Karma
                                       Foods, Inc.

Assumed Liabilities            The Assumed Liabilities shall include:
                                  i. select employee liabilities, including accrued payroll,
                                     employment benefits, and incentive compensation;
                                 ii. utility payables and customer rebates for the DFA-
                                     Acquired Facilities; and
                                iii. environmental costs for the DFA-Acquired Facilities to
                                     the extent required by law.

Bid Protections                The Bid Protections shall include:
                                 i. Break-up Fee in the amount of $15 million; and
                                ii. Expense Reimbursement in the amount of $8 million.


B.     The Bidding Procedures

       28.     The Bidding Procedures are designed to promote a competitive and efficient sale

process to (a) confirm that the Stalking Horse Bid is, indeed, the highest or otherwise best offer

for the Stalking Horse Assets or to identify one or more alternative bids (if any) that are

collectively higher or otherwise better with respect to the sale of the Stalking Horse Assets, and

(b) identify one or more additional bids (if any) for Bid Assets that are not included in the

Stalking Horse Assets to maximize the value of such Bid Assets. If approved, the Bidding

Procedures will allow the Debtors, in consultation with the Consultation Parties, to solicit and

identify bids from potential buyers that constitute the highest or otherwise best offer for the Bid



                                                15
       Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 16 of 49




Assets on a schedule consistent with the deadlines under the Stalking Horse Agreement, the

Bidding Procedures, the milestones in the DIP Credit Agreement, and the Debtors’ strategy for

maximizing value for their stakeholders.

        29.      As the Bidding Procedures are attached to the Bidding Procedures Order, they are

not herein restated in their entirety. Certain of the key terms of the Bidding Procedures are

highlighted in the chart below. 10


                       MATERIAL TERMS OF THE BIDDING PROCEDURES

 Consultation Rights     Throughout the sale process, the Debtors and their advisors will regularly and timely
                         consult with the following parties (collectively, the “Consultation Parties”):
                         Coöperatieve Rabobank U.A., as agent, and its advisors (including White & Case LLP
                         and FTI Consulting), and the Committee and its advisors, including Akin Gump Strauss
                         Hauer & Feld LLP.
                         For the avoidance of doubt, unless approved by the Court or otherwise provided in the
                         Bidding Procedures, no amendment or other modification to the Bidding Procedures
                         (including the extension of any deadlines set forth therein) shall be made by the Debtors
                         without the consent of the Consultation Parties.

                         The Debtors shall not consult with or provide copies of bids regarding any assets to any
                         insider or affiliate of the Debtors pursuant to the terms of the Bidding Procedures if such
                         party has a bid for the Bid Assets pending, or expressed any interest (written or verbal) in
                         bidding for any of the Debtors’ assets; provided, however, that if such insider or affiliate
                         of the Debtors chooses not to submit any bid, then such party may receive copies of all
                         bids following expiration of the latest possible Bid Deadline (as such Bid Deadline may
                         be extended under the Bidding Procedures). Notwithstanding the foregoing, if a member
                         of the Committee submits a Qualified Bid (as defined in the Bidding Procedures), the
                         Committee will maintain its consultation rights as a Consultation Party; provided that the
                         Committee shall exclude such member from any discussions or deliberations regarding a
                         transaction involving the applicable Bid Assets and shall not provide any confidential
                         information regarding the Bid Assets or a transaction involving the Bid Assets to the
                         bidding Committee member.


     Provisions          Parts 1 and 2 of the Bidding Procedures set forth the Qualified Bid and Qualified
     Governing           Bidder requirements.
   Qualification of
                         A party may participate in the bidding process by submitting a bid for (a) all or
    Bidders and
                         substantially all of the Bid Assets and/or (b) one or more, or any combination of, Bid
   Qualified Bids
                         Assets as that party may desire.

                         The Bidding Procedures also provide that the Debtors, in consultation with the

        10
           To the extent that there is any inconsistency between the terms of the Bidding Procedures and the
summary of such terms in this Motion, the terms of the Bidding Procedures shall control. Capitalized terms used but
not otherwise defined in this summary shall have the meanings ascribed to such terms in the Bidding Procedures.



                                                        16
Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 17 of 49




          MATERIAL TERMS OF THE BIDDING PROCEDURES

           Consultation Parties, may also consider competing bids in the form of a chapter 11 plan
           of reorganization, subject to the requirements set forth in the Bidding Procedures (a
           “Chapter 11 Plan Bid”).

           A. Indications of Interest.
               1.   Required Information. Interested Parties must deliver the following items to
                    Evercore so as to be received no later than 3:00 p.m. (prevailing Central Time)
                    on March 31, 2020:
                    a.   an executed confidentiality agreement in form and substance reasonably
                         satisfactory to the Debtors, in consultation with the Consultation Parties;
                    b.   a statement and other factual support demonstrating, to the Debtors’
                         satisfaction, in consultation with the Consultation Parties, that the
                         Interested Party has a bona fide interest in purchasing some or all of the Bid
                         Assets;
                    c.   a description of the nature and extent of any due diligence the Interested
                         Party wishes to conduct and the date in advance of the Bid Deadline (as
                         defined below) by which such due diligence will be completed; and
                    d.   sufficient information, as defined by the Debtors, in consultation with the
                         Consultation Parties, to allow the Debtors, in consultation with the
                         Consultation Parties, to determine that the Interested Party has the financial
                         wherewithal and any required internal corporate, legal, or other
                         authorizations to close the sale transaction, including, but not limited to,
                         current audited financial statements of the Interested Party (or such other
                         form of financial disclosure acceptable to the Debtors in consultation with
                         the Consultation Parties) or, if the Interested Party is an entity formed for
                         the purpose of acquiring some or all of the Bid Assets, (i) current audited
                         financial statements of the equity holder(s) (the “Sponsor(s)”) of the
                         Interested Party or such other form of financial disclosure acceptable to the
                         Debtors in consultation with the Consultation Parties, (ii) a written
                         commitment acceptable to the Debtors and their advisors, in consultation
                         with the Consultation Parties, that the Sponsor(s) are responsible for the
                         Interested Party’s obligations in connection with the Bidding Process, and
                         (iii) copies of any documents evidencing any financing commitments
                         necessary to consummate the transaction.
               If the Debtors determine, in consultation with the Consultation Parties, after receipt of
               the items identified above, that an Interested Party has (i) a bona fide interest in
               purchasing any or all of the Bid Assets, (ii) the financial wherewithal to execute such
               purchase, and (iii) reasonable due diligence requirements, such Interested Party will be
               deemed a “Potential Bidder” and the Debtors will deliver to such Potential Bidder (a)
               an electronic copy of the Stalking Horse Agreement and (b) access to the Debtors’
               confidential electronic data room concerning the Bid Assets (the “Data Room”), which
               shall include a form of Sale Order.
           B. Due Diligence. In addition to Data Room access, Debtors may, in consultation with
              the Consultation Parties, grant additional due diligence access reasonably requested
              by Potential Bidders. Unless otherwise determined by the Debtors, the availability
              of due diligence to a Potential Bidder will cease if the Potential Bidder does not
              become a Qualified Bidder or the Bidding Process is terminated in accordance with
              its terms.




                                          17
Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 18 of 49




          MATERIAL TERMS OF THE BIDDING PROCEDURES

           C. Bid Deadline – April 13, 2020 at 3:00 p.m. (prevailing Central Time)
           D. Qualified Bid Requirements.
               1.   Required Bid Documents. A Qualified Bid (other than the Stalking Horse Bid,
                    with respect to which the deposit requirements will be governed by the Stalking
                    Horse Agreement) must be accompanied by the following documents:
                    a.   a letter stating that the bidder’s offer is irrevocable until consummation of a
                         transaction involving the Bid Assets (or lot thereof) identified in such offer;
                    b.   other than for any Chapter 11 Plan Bid, a duly authorized and executed
                         asset purchase agreement, which purchase agreement must be based on the
                         form of the Stalking Horse Agreement, marked to show any revisions,
                         including, among other things, the purchase price for the Bid Assets (or lot
                         thereof, as applicable), together with all exhibits and schedules, in each
                         case marked against the Stalking Horse Agreement and any proposed
                         revisions to the proposed form of Sale Order;
                    c.   each Chapter 11 Plan Bid must be accompanied by an executed investment
                         agreement, signed by an authorized representative of such bidder, pursuant
                         to which the bidder proposes to effectuate a non-taxable recapitalization
                         transaction effectuated pursuant to a chapter 11 plan of reorganization, and
                         must provide for a fully-committed investment of capital in exchange for
                         substantially all of the equity of the reorganized Debtors;
                    d.   written evidence acceptable to the Debtors in consultation with the
                         Consultation Parties demonstrating financial wherewithal, operational
                         ability, and corporate authorization to consummate the proposed
                         transaction; and
                    e.   written evidence of a firm commitment for financing to consummate the
                         proposed transaction, or other evidence of ability to consummate the
                         proposed transaction without financing, that is satisfactory to the Debtors in
                         consultation with the Consultation Parties.
               2.   Identity of Purchaser. Full disclosure of the legal identity of the purchaser and
                    related parties participating in the Auction.
               3.   Bid Assets; Consideration.
                    a.   Other than for a Chapter 11 Plan Bid, identification of Bid Assets (or lot
                         thereof) to be purchased and the Contracts and Leases to be assumed, and
                         the consideration therefor (the “Bid Consideration”).
                    b.   If the bid seeks to purchase all or substantially all of the Stalking Horse
                         Assets (and not a lot thereof), such Bid provides for a purchase price
                         payable in cash at Closing in an amount at least equal to $453 million,
                         which is the sum of (i) $425 million (i.e. the purchase price under the
                         Stalking Horse Agreement); plus (ii) the aggregate amount of the Bid
                         Protections; plus (iii) $5 million (the “Minimum Overbid”).
                    c.   Other than for a Chapter 11 Plan Bid, clearly states which liabilities of the
                         Debtors or the Bid Assets will be assumed.
                    d.   Includes a statement of proposed terms for employees, including with
                         respect to the Debtors’ affected collective bargaining agreements and
                         affected labor unions.




                                           18
Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 19 of 49




          MATERIAL TERMS OF THE BIDDING PROCEDURES

                    e.   Clearly allocates the Bid Consideration among the Bid Assets and
                         Contracts and Leases to be assumed on a per Facility basis.
               4.   No Financing/Diligence Contingency. No condition on the obtainment of
                    financing or on the outcome of unperformed due diligence.
               5.   Regulatory Approvals. Includes a description of all governmental, licensing,
                    regulatory, or other approvals or consents that are required to consummate the
                    proposed transaction (including any antitrust approval related to the Hart-Scott-
                    Rodino Antitrust Improvements Act of 1976, as amended), together with
                    evidence satisfactory to the Debtors, in consultation with the Consultation
                    Parties, of the ability to obtain such approvals or consents as soon as reasonably
                    practicable, and in no event later than June 1, 2020, as well as a description of
                    any material contingencies or other conditions that will be imposed upon, or
                    that will otherwise apply to, the obtainment or effectiveness of any such
                    approvals or consents.
               6.   Alternate Bidder. Must expressly state that the bidder agrees to serve as an
                    Alternate Bidder if such bidder’s Qualified Bid is selected as the next highest or
                    next best bid after the Successful Bid (as hereinafter defined) with respect to the
                    applicable Bid Assets.
               7.   Good Faith Deposit. Except with respect to the Stalking Horse Bidder (whose
                    deposit shall be governed by the Stalking Horse Agreement), delivery of a cash
                    deposit by wire transfer to a Deposit Agent in an amount equal to ten percent of
                    the proposed purchase price.
               8.   Authorized Representatives. A list setting forth the representatives authorized to
                    appear and act for the bidder in connection with the proposed transaction.
               9.   No Bid Protections. Statement that the bidder will not seek any transaction or
                    break-up fee, expense reimbursement, or similar type of payment.
               10. Adequate Assurance. Evidence supporting the bidder’s ability to comply with
                   section 365 of the Bankruptcy Code (to the extent applicable), including the
                   provision of adequate assurance of such bidder’s ability to perform under any
                   Contracts and Leases to be assumed by the bidder in connection with the
                   proposed transaction.
           E. Designation of Qualified Bids; Cure of Non-Qualifying Bids. The Debtors, in
              consultation with the Consultation Parties, shall have the right to deem a bid a
              Qualified Bid. If the Debtors receive a bid prior to the Bid Deadline that is not a
              Qualified Bid, the Debtors may provide the bidder with the opportunity to remedy
              any deficiencies following the Bid Deadline. If any bid is determined by the
              Debtors, in consultation with the Consultation Parties, not to be a Qualified Bid, and
              the applicable bidder fails to remedy such bid in accordance with the Bidding
              Procedures, the Debtors shall promptly instruct the Deposit Agent to return such
              bidder’s Good Faith Deposit. Within one day of the Debtors’ receipt of any bid for
              any or all of the Stalking Horse Assets, the Debtors shall provide such bid to the
              Stalking Horse Bidder and the Consultation Parties; provided that such bid may be
              withheld from members of the Committee or redacted to the extent that the Debtors
              determine, in their reasonable business judgment and in consultation with the
              advisors to the Committee, that sharing such bid would be likely to have a negative
              impact on potential bidding or otherwise be contrary to goal of maximizing value for
              the Debtors’ estates from the sale process.
           F. Deemed Acknowledgments and Representations. Each Qualified Bidder shall be


                                          19
       Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 20 of 49




                       MATERIAL TERMS OF THE BIDDING PROCEDURES

                              deemed to acknowledge and represent that such bidder:
                              1.   had an opportunity to conduct any and all due diligence regarding the Bid
                                   Assets that are the subject of the Auction prior to making any such bid;
                              2.   relied solely upon its own independent review, investigation, and/or inspection
                                   of any documents and/or the assets in making its bid; and
                              3.   did not rely upon any written or oral statements, representations, promises,
                                   warranties, or guaranties whatsoever, whether express, implied, by operation of
                                   law, or otherwise, regarding the Bid Assets (or lot thereof), or the completeness
                                   of any information provided in connection therewith, except as expressly stated
                                   in the Bidding Procedures or, as to the Stalking Horse Bidder, the Stalking
                                   Horse Agreement, or, as to any other Successful Bidder(s) (as defined below),
                                   the purchase agreement(s) with such Successful Bidder(s).

      Provisions         Part 3 of the Bidding Procedures outlines the terms of the Bid Protections being
    Providing Bid        provided to the Stalking Horse Bidder
    Protections to
                         If the Stalking Horse Bidder is not the Successful Bidder, or if the Debtors withdraw the
    Stalking Horse
                         motion prior to the entry of a Sale Order approving the Sale Transaction relating to the
        Bidder
                         Stalking Horse Assets, the Debtors will, in certain circumstances, pay to the Stalking
                         Horse Bidder a Break-Up Fee and the Expense Reimbursement. The payment of the
                         Break-Up Fee and the Expense Reimbursement will be governed by the provisions of the
                         Stalking Horse Agreement and the Bidding Procedures Order. The Break-Up Fee is
                         $15,000,000.00 and the Expense Reimbursement shall not exceed $8,000,000.00.

     Provisions          Part 4 of the Bidding Procedures sets forth the provisions governing Credit
  Governing Credit       Bidding 11
      Bidding
                         Subject to the terms and conditions set forth in the DIP Order, the DIP Agent, with the
                         consent of the Required Lenders, shall have the right (on behalf of the DIP Lenders) to
                         credit bid the amounts of the DIP Obligations (other than, prior to the Challenge Period
                         Termination Date, the DIP Roll-Up Loans) in connection with any sale of all or
                         substantially all of the Debtors’ assets and property.
                         If the DIP Agent submits a credit bid in accordance with the foregoing, and such bid is
                         received by the Bid Deadline, such bidder shall be deemed to be a Qualified Bidder and
                         any such credit bid shall be deemed to be a Qualified Bid.

      Provisions         Part 5 of the Bidding Procedures sets forth the procedures governing the Auction.
    Governing the
                         A. Date, Time, and Location. The Auction shall be conducted at the offices of Davis
     Auction and
                            Polk & Wardwell LLP, 450 Lexington Avenue, New York, New York 10017 on
    Permitting the
                            April 20, 2020 at 10:00 a.m. (prevailing Eastern Time) or such later time on such
    Modification of
                            day or such other place as the Debtors shall notify all Qualified Bidders (including
     Bidding and

          11
             Capitalized terms used in this subsection but not otherwise defined shall have the meanings ascribed to
them in the Final Order Pursuant to Pursuant to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503, 506, 507, and 522 and
Rules 2002, 4001, 6003, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure (I) Authorizing the Debtors
to (A) Obtain Senior Secured Superpriority Post-Petition Financing, and (B) Use Cash Collateral, (II) Granting
Liens and Superpriority Administrative Expense Claims, (III) Providing Adequate Protection to Prepetition Secured
Parties, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [D.I. 133] (the “DIP Order”).



                                                         20
     Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 21 of 49




                     MATERIAL TERMS OF THE BIDDING PROCEDURES

Auction Procedures       the Stalking Horse Bidder).
                      B. Participants and Attendees.
                         1.   Attendance will be limited to the representatives or agents (including legal and
                              financial advisors) of (a) the Debtors, (b) any Qualified Bidder that has
                              submitted a Qualified Bid, (c) the Agents, and (d) the Committee.
                         2.   Each Qualified Bidder must confirm on record that it (a) has not engaged in any
                              collusion with respect to the bidding or the sale of any of the Bid Assets, (b) has
                              reviewed, understands, and accepts the Bidding Procedures, (c) has consented to
                              the jurisdiction of the Court, and (d) intends to consummate its Qualified Bid if
                              it is selected as the Successful Bid.
                      C. Auction Procedures.
                         1.   Notice of Qualification. Prior to the Auction, the Debtors will (a) notify each
                              Qualified Bidder that has timely submitted a Qualified Bid that its bid is a
                              Qualified Bid and (b) provide all Qualified Bidders with (i) copies of the
                              Qualified Bid or combination of Qualified Bids that the Debtors, in consultation
                              with the Consultation Parties, believe is the highest or otherwise best offer (the
                              “Starting Bid”), (ii) an explanation of how the Debtors value the Starting Bid,
                              and (iii) a list identifying all of the Qualified Bidders and their respective
                              Qualified Bids.
                         2.   Starting Bid. The first round of bidding at the Auction shall commence at the
                              Starting Bid. For the avoidance of doubt, the Starting Bid may be comprised of
                              multiple Qualified Bids if the aggregate consideration in such Qualified Bids is
                              higher and better than the Stalking Horse Bid.
                         3.   Subsequent Bids. Bidding at the Auction will begin with the Starting Bid and
                              continue, in one or more rounds of bidding in the presence of all parties at the
                              Auction, so long as during each round at least one subsequent bid
                              (a “Subsequent Bid”) is submitted by a Qualified Bidder that (a) improves
                              upon such Qualified Bidder’s immediately prior Qualified Bid and (b) the
                              Debtors determine in consultation with the Consultation Parties that such
                              Subsequent Bid is (i) with respect to the first round, a higher or otherwise better
                              offer than the Starting Bid and (ii) with respect to subsequent rounds, a higher
                              or otherwise better offer than the Leading Bid (as defined below), in each case
                              taking into account other Qualified Bids for other Bid Assets; provided,
                              however, that with respect to each round of bidding with respect to all or
                              substantially all of the Stalking Horse Assets, any Qualified Bid or Subsequent
                              Bid must provide consideration at least equal to the Minimum Overbid. The
                              Debtors reserve the right, in consultation with the Consultation Parties, to
                              announce reductions or increases in the Minimum Overbid (or in valuing such
                              bids) at any time during the Auction. For the avoidance of doubt, in any
                              subsequent round of bidding with respect to all or substantially all of the
                              Stalking Horse Assets, the Stalking Horse Bidder will be entitled to a “credit” in
                              the amount of the Bid Protections to be counted toward its bid in such round. In
                              each subsequent round after the first round, the Debtors, in consultation with the
                              Consultation Parties, may determine appropriate minimum bid increments or
                              requirements for each round of bidding.
                         4.   Minimum Bid Increments. In each subsequent round after the first round, the
                              Debtors, in consultation with the Consultation Parties, may determine
                              appropriate minimum bid increments or requirements for each round of bidding.



                                                    21
Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 22 of 49




          MATERIAL TERMS OF THE BIDDING PROCEDURES

               5.   Highest or Best Offer. After the first round of bidding and between each
                    subsequent round of bidding, as applicable, the Debtors will determine in their
                    discretion, in consultation with the Consultation Parties, and announce the bid
                    or bids that they believe to be the highest or otherwise best offer or combination
                    of offers (the “Leading Bid”). Additional consideration in excess of the amount
                    set forth in the Starting Bid may include cash and/or non-cash consideration;
                    provided, however, that the value for such non-cash consideration shall be
                    determined by the Debtors in consultation with the Consultation Parties.
               6.   Partial Bids. If any of the Qualified Bids submitted by the Bid Deadline are
                    structured as a purchase of less than all or substantially all of the Bid Assets
                    (each such bid, a “Partial Bid”), the Debtors may conduct separate auctions at
                    the Auction for each lot of assets (each, an “Auction Lot”) subject to a Partial
                    Bid. The Debtors may, in consultation with the Consultation Parties, combine
                    Partial Bids into an Auction Lot to compete against the Stalking Horse Bid.
                    The Debtors may designate each Auction Lot at any time prior to the Auction.
               7.   Recording. The bidding at the Auction will be transcribed or videotaped.
               8.   Modification of Bidding and Auction Procedures: The Debtors, in consultation
                    with the Consultation Parties, may employ and announce at the Auction
                    additional procedural rules for conducting the Auction (e.g., the amount of time
                    allotted to submit Subsequent Bids), provided, however, that such rules shall
                    (a) not be inconsistent with the Bankruptcy Code, the Bidding Procedures
                    Order, or any other order of the Court entered in connection herewith and (b) be
                    disclosed to all Qualified Bidders.
           Part 6 of the Bidding Procedures sets forth procedures by which the Debtors shall
           select the Successful Bid(s) and Alternate Bid(s).
           A. Selection of Successful Bids. Prior to the conclusion of the Auction, the Debtors
              shall, in consultation with the Consultation Parties, (i) review and evaluate each bid
              made at the Auction on the basis of financial and contractual terms and other factors
              relevant to the sale process, including those factors affecting the speed and certainty
              of consummating the sale transaction, (ii) determine and identify the highest or
              otherwise best offer or collection of offers (the “Successful Bid(s)”), (iii) determine
              and identify the next highest or otherwise best offer or collection of offers (the
              “Alternate Bid(s)”), and (iv) notify all Qualified Bidders participating in the
              Auction, prior to its adjournment, of (A) the identity of the party or parties that
              submitted the Successful Bid(s) (the “Successful Bidder(s)”), (B) the amount and
              other material terms of the Successful Bid(s), (C) the identity of the party or parties
              that submitted the Alternate Bid(s) (the “Alternate Bidder(s)”), and (D) the amount
              and other material terms of the Alternate Bid(s).
               Each Qualified Bidder shall agree and be deemed to agree to be the Alternate Bidder
               if so designated. Notwithstanding the foregoing sentence or anything in the Bidding
               Procedures to the contrary, any Qualified Bid submitted by the Stalking Horse
               Bidder or the DIP Agent (as defined in the DIP Order) shall not be required to serve
               as an Alternate Bid absent consent of the Stalking Horse Bidder or DIP Agent,
               respectively.
           B. Execution of Definitive Documentation. As soon as reasonably practicable after
              the completion of the Auction, the Successful Bidder(s) and the applicable Debtors
              shall complete and execute all agreements, instruments, and other documents
              necessary to consummate the applicable sale or other transaction(s) contemplated by
              the applicable Successful Bid(s). Promptly following the selection of the Successful



                                          22
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 23 of 49




                        MATERIAL TERMS OF THE BIDDING PROCEDURES

                               Bid(s) and Alternate Bid(s), the Debtors shall file a notice of the Successful Bid(s)
                               and Alternate Bid(s) with the Court, together with a proposed Sale Order.

     Provisions           Part 7 of the Bidding Procedures sets forth procedures regarding closing with
   Regarding Sale         Successful Bidder(s) or Alternative Bidder(s).
    Hearing and
                               The Sale Hearing will be held on April [27], 2020 at: [·]:00 [·].m. (prevailing Central
    Closing with
                               time) 12 before the Honorable Judge David R. Jones, in the United States Bankruptcy
  Successful Bidders
                               Court for the Southern District of Texas, 515 Rusk St., Houston, Texas 77002. The
   and Alternative
                               Sale Hearing may be adjourned by the Debtors, in consultation with the Consultation
       Bidders
                               Parties, by an announcement of the adjourned date at a hearing before the Bankruptcy
                               Court or by filing a notice on the Bankruptcy Court’s docket. At the Sale Hearing, the
                               Debtors will seek the Bankruptcy Court’s approval of the Successful Bid(s) and, at the
                               Debtors’ election, the Alternate Bid(s).
                               The Debtors’ presentation to the Court of the Successful Bid(s) and Alternate Bid(s)
                               will not constitute the Debtors’ acceptance of such bid(s), which acceptance will only
                               occur upon approval of such bid(s) by the Court. Following the Court’s entry of the
                               Sale Order, the Debtors and the Successful Bidder(s) shall proceed to consummate the
                               transaction(s) contemplated by the Successful Bid(s). If the Debtors and the
                               Successful Bidder(s) fail to consummate the proposed transaction(s), then the Debtors
                               shall file a notice with the Court advising of such failure. Upon the filing of such
                               notice with the Court, the Alternate Bid(s) will be deemed to be the Successful Bid(s)
                               and the Debtors will be authorized, but not directed, to effectuate the transaction(s)
                               with the Alternate Bidder(s) subject to the terms of the Alternate Bid(s) of such
                               Alternate Bidder(s) without further order of the Court.


C.     Key Dates and Deadlines

       30.        Consistent with the Debtors’ need to consummate a sale of the Bid Assets as

efficiently as practicable, the Debtors propose the following key dates and deadlines for the sale

process, certain of which dates and deadlines may be subject to extension in accordance with the

Bidding Procedures:

 March 12, 2020 at 2:00 p.m.               Hearing to consider approval of the Bidding Procedures and entry
 (prevailing Central Time)                 of the Bidding Procedures Order
 March 16, 2020                            Target date for the Debtors to file Potential Assumed Contracts
                                           Schedule
 March 31, 2020 at 3:00 p.m.               Potential Bidder deadline
 (prevailing Central Time)
 April 6, 2020 at 4:00 p.m.                Cure Objection Deadline


       12
            This date remains subject to Court approval.



                                                           23
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 24 of 49




(prevailing Central Time)
April 13, 2020 at 3:00 p.m.                Bid Deadline
(prevailing Central Time)
April 20, 2020 at 10:00 a.m.               Auction (if any) to be held at the offices of Davis Polk &
(prevailing Eastern Time)                  Wardwell LLP
April 21, 2020                             Target date for the Debtors to file with the Court the Notice of
                                           Auction Results
April 22, 2020 at 4:00 p.m.                Deadline to object to the Sale Transaction to the Successful
(prevailing Central Time)                  Bidder; and the Assumption and Assignment Objection Deadline
April [27], 2020 at [·]:00 [·].m.          Hearing to consider approval of the Sale Transaction(s) and entry
(prevailing Central Time) 13               of the Sale Order(s)

D.     Noticing Procedures

       31.        The Debtors propose the following “Noticing Procedures”:

                  a.       Sale Notice and Publication. As soon as reasonably practicable after
                           entry of the Bidding Procedures Order, but not later than three business
                           days after entry of the Bidding Procedures Order, the Debtors shall serve
                           the Sale Notice, the Bidding Procedures Order (including the Bidding
                           Procedures attached to the Bidding Procedures Order) by first class or
                           overnight mail upon the following: (i) the U.S. Trustee; (ii) Akin Gump
                           Strauss Hauer & Feld LLP, as counsel to the Committee; (iii) White &
                           Case LLP, as counsel to Coöperatieve Rabobank U.A., New York Branch,
                           the administrative agent under Debtors’ prepetition receivables purchase
                           agreement, administrative agent under the Debtors’ prepetition secured
                           revolving credit facility, administrative agent under the Debtors’
                           securitization facility, and administrative agent under the Debtors’ post-
                           petition financing facility (collectively, the “Agents”); (iv) indenture
                           trustee under the Debtors’ prepetition unsecured bond indenture;
                           (v) Counterparties to Contracts and Leases; (vi) the Securities and
                           Exchange Commission; (vii) the Internal Revenue Service; (viii) the U.S.
                           Environmental Protection Agency; (ix) the United States Attorney’s
                           Office for the Southern District of Texas; (x) the United States Attorney
                           General/Antitrust Division of the Department of Justice; (xi) the state
                           attorneys general for states in which the Debtors conduct business; (xii) all
                           other parties asserting a security interest in the assets of the Debtors to the
                           extent reasonably known to the Debtors; (xiii) all potential buyers
                           previously identified or solicited by the Debtors or their advisors and any
                           additional parties who have previously expressed an interest to the Debtors
                           or their advisors in potentially acquiring the Debtors’ assets; (xiv) all other
                           known parties with any interest in the Bid Assets; (xv) all known creditors
                           of the Debtors; and (xvi) any party that has requested notice pursuant to

       13
            This date remains subject to Court approval.



                                                           24
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 25 of 49




                      Bankruptcy Rule 2002 (collectively, the “Sale Notice Parties”). The
                      Debtors will publish the Sale Notice once in USA Today national edition
                      as soon as practicable following entry of the Bidding Procedures Order.
                      This publication notice will provide notice of the sale to any other
                      interested parties whose identities are unknown to the Debtors.

              b.      Notice of Determination of Qualified Bids. The Debtors, in consultation
                      with the Consultation Parties, will make a determination regarding which
                      bids qualify as a Qualified Bid. Prior to the Auction, the Debtors will
                      (i) notify each Qualified Bidder that has timely submitted a Qualified Bid
                      that its bid is a Qualified Bid and (ii) provide all Qualified Bidders with
                      (A) a copy of the Starting Bid, (B) an explanation of how the Debtors
                      value the Starting Bid, and (C) a list identifying all of the Qualified
                      Bidders and their respective Qualified Bids.

              c.      Notice of Hearing if Auction Not Held. If (a) no Qualified Bids for the
                      Stalking Horse Assets are submitted by the Bid Deadline other than the
                      Stalking Horse Bid or (b) only one or more Partial Bids are submitted by
                      the Bid Deadline for non-overlapping lots of the Bid Assets, the Debtors
                      may, in their discretion, in consultation with the Consultation Parties, elect
                      to cancel the Auction, seek approval of the transactions contemplated in
                      the Stalking Horse Bid, the Qualified Bid which is not the Stalking Horse
                      Bid, or the transactions in respect of such Partial Bids, at the Sale Hearing.
                      If no Auction is to be conducted, the Debtors will file with the Court,
                      serve on the Sale Notice Parties, and cause to be published on the Debtors’
                      case information website located at https://dm.epiq11.com/SouthernFoods
                      (the “Case Information Website”) a notice (x) indicating that the Auction
                      for the Bid Assets has been canceled, (y) indicating that the Stalking
                      Horse Bid, or Partial Bid(s) (as applicable) is or are the Successful Bid
                      with respect to the Bid Assets, and (z) setting forth the date and time of the
                      Sale Hearing.

                      In no event shall the Consultation Parties have fewer than five days before
                      the Sale Hearing to object to the Partial Bid or Successful Bid, or to the
                      Stalking Horse Bid, absent consent of the Consultation Parties.

              d.      Notice of Auction Results. Promptly following the selection of the
                      Successful Bid(s) and Alternate Bid(s), the Debtors shall file a notice of
                      the Successful Bid(s) and Alternate Bid(s) (the “Notice of Auction
                      Results”) with the Court and cause the Notice of Auction Results to be
                      published on the Case Information Website.

       32.    The Noticing Procedures constitute adequate and reasonable notice of the key

dates and deadlines for the sale process, including, among other things, the objection deadline,

the Bid Deadline, and the times and locations of the Auction and Sale Hearing. Accordingly, the


                                               25
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 26 of 49




Debtors request that the Court find that the Noticing Procedures are adequate and appropriate

under the circumstances and comply with the requirements of Bankruptcy Rule 2002 and Local

Rule 6004(a).

                             Assumption and Assignment Procedures

       33.      In connection with the Sale Transaction, the Debtors anticipate that they will

assume and assign to the Successful Bidder (or its designated assignee(s)) all or certain of the

Assumed Contracts and Assumed Leases pursuant to section 365(b) of the Bankruptcy Code.

Accordingly, the Debtors hereby also seek approval of the proposed Assumption and

Assignment Procedures set forth herein, which are designed to, among other things, (a) outline

the process by which the Debtors will serve notice to all Counterparties regarding the potential

assumption and assignment, related Cure Costs, if any, and information regarding the Successful

Bidder’s adequate assurance of future performance and (b) establish objection and other relevant

deadlines and the manner for resolving disputes relating to assumption and assignment of the

Assumed Contracts and Assumed Leases.            Specifically, the Assumption and Assignment

Procedures are as follows:

                a.     Potential Assumed Contracts Schedule. As soon as reasonably
                       practicable following entry of the Bidding Procedures Order, the Debtors
                       shall file with the Court, and cause to be published on the Case
                       Information Website, the Potential Assumption and Assignment Notice
                       and a list of the Potential Assumed Contracts (the “Potential Assumed
                       Contracts Schedule”) that specifies (i) each of the Contracts and Leases
                       that potentially could be assumed and assigned in connection with the sale
                       of the Bid Assets, including the name of each Counterparty and (ii) the
                       proposed Cure Cost with respect to each Potential Assumed Contract.

                b.     Potential Assumption and Assignment Notice. The Debtors shall, as
                       soon as reasonably practicable after entry of the Bidding Procedures Order
                       (but in any event, so as to provide sufficient notice such that any required
                       responses from any Counterparties are due prior to the scheduled date of
                       the Auction as specified in the Bidding Procedures), serve on each relevant
                       Counterparty the Potential Assumption and Assignment Notice, which
                       shall (i) identify the Potential Assumed Contracts, (ii) list the Debtors’


                                                26
Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 27 of 49




            good faith calculation of the Cure Costs with respect to the Potential
            Assumed Contracts identified on the Potential Assumption and
            Assignment Notice, (iii) expressly state that assumption or assignment of
            an Assumed Contract or Assumed Lease is not guaranteed and is subject
            to Court approval, (iv) prominently display the deadline to file an
            Assumption and Assignment Objection (as defined herein), and
            (v) prominently display the date, time, and location of the Sale Hearing.
            The Debtors shall serve on all parties requesting notice pursuant to
            Bankruptcy Rule 2002, via first class mail, a modified version of the
            Potential Assumption and Assignment Notice, without the Potential
            Assumed Contracts Schedule, which will include instructions regarding
            how to view the Potential Assumed Contracts Schedule on the Case
            Information Website.

      c.    Proposed Assumption and Assignment Notice. The Debtors shall, in
            conjunction with the filing of the Notice of Auction Results, file and serve
            on each relevant Counterparty the Proposed Assumption and Assignment
            Notice, which shall (i) identify the Proposed Assumed Contracts,
            (ii) expressly state that assumption or assignment of an Assumed Contract
            or Assumed Lease is not guaranteed and is subject to Court approval,
            (iii) prominently display the deadline to file an Assumption and
            Assignment Objection, and (iv) prominently display the date, time, and
            location of the Sale Hearing. The Debtors shall serve on all parties
            requesting notice pursuant to Bankruptcy Rule 2002, via first class mail, a
            modified version of the Proposed Assumption and Assignment Notice,
            without the schedule of Proposed Assumed Contracts (the “Proposed
            Assumed Contracts Schedule”), which will include instructions
            regarding how to view the Proposed Assumed Contracts Schedule on the
            Case Information Website.

      d.    Assumption and Assignment Objections.

            i.     Objection Deadlines. Any Counterparty may object to the potential
                   or proposed assumption or assignment of its Assumed Contract or
                   Assumed Lease, the Debtors’ proposed Cure Costs, if any, or the
                   ability of a Successful Bidder to provide adequate assurance of
                   future performance (an “Assumption and Assignment
                   Objection”). All Assumption and Assignment Objections must
                   (A) be in writing, (B) comply with the Bankruptcy Code,
                   Bankruptcy Rules, and Local Rules, (C) state, with specificity, the
                   legal and factual bases thereof, including, if applicable, the Cure
                   Costs the Counterparty believes is required to cure defaults under
                   the relevant Assumed Contract or Assumed Lease, (D) (1) for
                   objections relating to proposed Cure Costs, be filed no later than
                   April 6, 2020 at 4:00 p.m. (prevailing Central Time) (the “Cure
                   Objection Deadline”) and (2) for all other objections, April 22,
                   2020 at 4:00 p.m. (prevailing Central Time) (the “Assumption


                                     27
Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 28 of 49




                   and Assignment Objection Deadline”), and (E) be served on
                   (1) counsel to the Debtors, (y) Davis Polk & Wardwell LLP, 450
                   Lexington Avenue, New York, New York 10017, Attn: Brian M.
                   Resnick, Steven Z. Szanzer, Nate Sokol, and Daniel E. Meyer and
                   (z) Norton Rose Fulbright US LLP, 1301 McKinney Street, Suite
                   5100, Houston, Texas 77010, Attn: William Greendyke, Jason L.
                   Boland, Robert B. Bruner, and Julie Harrison, (2) (y) counsel to
                   the Agents, White & Case LLP, 1221 Avenue of the Americas,
                   New York, NY 10020, Attn: Scott Greissman, Philip Abelson, and
                   Elizabeth Feld and (z) Gray Reed, 1300 Post Oak Blvd, Suite
                   2000, Houston, TX 77056, Attn: Jason S. Brookner, (3) counsel to
                   the Committee, Akin Gump Strauss Hauer & Feld LLP, One
                   Bryant Park, New York, NY 10036, Attn: Philip Dublin and
                   Meredith Lahaie, and (4) the U.S. Trustee (collectively, the
                   “Assumption and Assignment Objection Notice Parties”).

            ii.    Resolution of Assumption and Assignment Objections. If a
                   Counterparty files a timely Assumption and Assignment Objection,
                   such objection shall be heard at the Sale Hearing or such later date
                   that the Debtors, in consultation with the Successful Bidder, shall
                   determine in their discretion (in consultation with the Consultation
                   Parties and subject to the Court’s calendar). If such objection has
                   not been resolved prior to the closing of the Sale Transaction
                   (whether by an order of the Court or by agreement with the
                   Counterparty), the Successful Bidder(s) may elect, in their sole and
                   absolute discretion, one of the following options: (A) treat such
                   Counterparty’s contract or lease as property excluded from the Bid
                   Assets (an “Excluded Contract” or “Excluded Lease”,
                   respectively); or (B) temporarily treat the Proposed Assumed
                   Contract as an Excluded Contract or Excluded Lease, as applicable
                   (a “Designated Agreement”), proceed to the closing of the Sale
                   Transaction with respect to all other Bid Assets, and determine
                   whether to treat the Designated Agreement as an Assumed
                   Contract or Assumed Lease, as applicable, or an Excluded
                   Contract or Excluded Lease, as applicable, within ten business
                   days after resolution of such objection (whether by the Court’s
                   order or by agreement of the Counterparty, the Debtors, and the
                   Successful Bidder).

            iii.   Failure To File Timely Assumption and Assignment Objection. If a
                   Counterparty fails to file with the Court and serve on the
                   Assumption and Assignment Objection Notice Parties a timely
                   Assumption and Assignment Objection, the Counterparty shall be
                   forever barred from asserting any such objection with regard to the
                   assumption or assignment of its Assumed Contract or Assumed
                   Lease. Notwithstanding anything to the contrary in the Assumed
                   Contract or Assumed Lease, or any other document, the Cure Costs


                                    28
Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 29 of 49




                       set forth in the Potential Assumption and Assignment Notice or the
                       Supplemental Assumption and Assignment Notice (as defined
                       herein) shall be controlling and will be the only amount necessary
                       to cure outstanding defaults under the applicable Assumed
                       Contract or Assumed Lease under section 365(b) of the
                       Bankruptcy Code arising out of or related to any events occurring
                       prior to the closing of the Sale Transaction or other applicable date
                       upon which such assumption and assignment will become
                       effective, whether known or unknown, due or to become due,
                       accrued, absolute, contingent, or otherwise, and the Counterparty
                       shall be forever barred from asserting any additional cure or other
                       amounts with respect to such Assumed Contract or Assumed Lease
                       against the Debtors, the Successful Bidder, or the property of any
                       of them.

      e.    Modification of Potential Assumed Contracts Schedule or Proposed
            Assumed Contracts Schedule.

                  i.   In addition to the rights of the Successful Bidder described above
                       with respect to an Assumption and Assignment Objection at or
                       prior to the closing of the Sale Transaction, the Successful Bidder
                       (including the Stalking Horse Bidder) may elect, in its sole and
                       absolute discretion, to (A) exclude any contract or lease on the
                       Potential Assumed Contracts Schedule as an Assumed Contract or
                       Assumed Lease, as applicable (in which case it shall become an
                       Excluded Contract or Excluded Lease, as applicable), or (B)
                       include on the Proposed Assumed Contracts Schedule any contract
                       or lease listed on the Potential Assumed Contracts Schedule, by
                       providing to the Debtors written notice of its election to exclude or
                       include such contract or lease, as applicable.

              ii.      If the Debtors or the Successful Bidder identify during the
                       pendency of the Chapter 11 Cases (before or after the closing of
                       the Sale Transaction) any contract or lease that is not listed on the
                       Proposed Assumed Contracts Schedule, and such contract or lease
                       has not been rejected by the Debtors, the Successful Bidder may,
                       in its sole and absolute discretion, elect by written notice to the
                       Debtors to treat such contract or lease as an Assumed Contract or
                       Assumed Lease, as applicable, and the Debtors shall seek to
                       assume and assign such Assumed Contract or Assumed Lease in
                       accordance with the Assumption and Assignment Procedures.

           iii.        Following the conclusion of the Auction, if any, and the selection
                       of the Successful Bidder(s), the Debtors reserve the right, at any
                       time before the closing of the Sale Transaction, to modify the
                       previously-stated Cure Costs associated with any Proposed



                                        29
Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 30 of 49




                   Assumed Contract, subject to notice requirements in the
                   Assumption and Assignment Procedures.

           iv.     In the event that any contract or lease is added to the Potential
                   Assumed Contracts Schedule or Proposed Assumed Contracts
                   Schedule or previously-stated Cure Costs are modified, in
                   accordance with the Stalking Horse Agreement or the procedures
                   set forth in this Motion, the Debtors will promptly serve a
                   supplemental assumption and assignment notice, by first class mail,
                   on the applicable Counterparty (each, a “Supplemental
                   Assumption and Assignment Notice”). Each Supplemental
                   Assumption and Assignment Notice will include the same
                   information with respect to the applicable Assumed Contract or
                   Assumed Lease as is required to be included in the Potential
                   Assumption and Assignment Notice.

            v.     Any Counterparty listed on a Supplemental Assumption and
                   Assignment Notice whose contract or lease is proposed to be
                   assumed and assigned may object to the proposed assumption or
                   assignment of its Assumed Contract or Assumed Lease, the
                   Debtors’ proposed Cure Costs (to the extent modified from the
                   previously-stated amount), or the ability of the Successful Bidder
                   to provide adequate assurance of future performance (a
                   “Supplemental Assumption and Assignment Objection”). All
                   Supplemental Assumption and Assignment Objections must (A) be
                   in writing, (B) comply with the Bankruptcy Code, Bankruptcy
                   Rules, and Local Rules, (C) state, with specificity, the legal and
                   factual bases thereof, including, if applicable, the Cure Costs the
                   Counterparty believes is required to cure defaults under the
                   relevant Assumed Contract or Assumed Lease, and (D) no later
                   than 14 days from the date of service of such Supplemental
                   Assumption and Assignment Notice, (1) be filed with the Court
                   and (2) be served on the Assumption and Assignment Objection
                   Notice Parties. Each Supplemental Assumption and Assignment
                   Objection, if any, shall be resolved in the same manner as an
                   Assumption and Assignment Objection.

      f.    Reservation of Rights. The inclusion of an Assumed Contract, Assumed
            Lease, or Cure Costs with respect thereto on a Potential Assumption and
            Assignment Notice, a Proposed Assumption and Assignment Notice, the
            Potential Assumed Contracts Schedule, the Proposed Assumed Contracts
            Schedule, or a Supplemental Assumption and Assignment Notice shall not
            constitute or be deemed a determination or admission by the Debtors, the
            Successful Bidder(s) (including the Stalking Horse Bidder), or any other
            party in interest that such contract or lease is an executory contract or
            unexpired lease within the meaning of the Bankruptcy Code. The Debtors
            reserve all of their rights, claims, and causes of action with respect to each


                                     30
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 31 of 49




                      Assumed Contract and Assumed Lease listed on a Potential Assumption
                      and Assignment Notice, Proposed Assumption and Assignment Notice,
                      Supplemental Assumption and Assignment Notice, the Potential Assumed
                      Contracts Schedule, and the Proposed Assumed Contracts Schedule. The
                      Debtors’ inclusion of any Assumed Contract or Assumed Lease on the
                      Potential Assumption and Assignment Notice, Proposed Assumption and
                      Assignment Notice, Supplemental Assumption and Assignment Notice,
                      the Potential Assumed Contracts Schedule, and/or the Proposed Assumed
                      Contracts Schedule shall not be a guarantee that such Assumed Contract
                      or Assumed Lease ultimately will be assumed or assumed and assigned.

                       Approval of the Relief Requested is Warranted
               and in the Best Interests of the Debtors and Their Stakeholders

A.     The Bidding Procedures are Fair and Appropriate and Should Be Approved

               34.    The Bidding Procedures are specifically designed to promote what courts

have deemed to be the paramount goal of any proposed sale of property of a debtor’s estate:

maximizing the value of sale proceeds received by the estate. See In re Johnson, 433 B.R. 626,

638 (Bankr. S.D. Tex. 2010) (citing Cheng v. K&S Diversified Invs. (In re Cheng), 308 B.R. 448,

455 (B.A.P. 9th Cir. 2004)) (“The debtor in possession performing the duties of the trustee is the

representative of the estate and is saddled with the same fiduciary duty as a trustee to maximize

the value of the estate available to pay creditors.”); In re Food Barn Stores, Inc., 107 F.3d 558,

564-65 (8th Cir. 1997) (recognizing that main goal of any proposed sale of property of a debtor’s

estate is to maximize value). Courts uniformly recognize that procedures established to enhance

competitive bidding are consistent with the fundamental goal of maximizing value of a debtor’s

estate. See In re ASARCO, L.L.C., 650 F.3d 593, 603 (5th Cir. 2011) (affirming bankruptcy

court’s approval of bid procedures designed to maximize the value of the debtor’s estate);

Official Comm. of Subordinated Bondholders v. Integrated Res. Inc. (In re Integrated Res. Inc.),

147 B.R. 650, 659 (S.D.N.Y. 1992) (observing that sale procedures “encourage bidding and . . .

maximize the value of the debtor’s assets”).




                                               31
       Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 32 of 49




        35.     The Bidding Procedures provide for an orderly, uniform, and appropriately

competitive process through which interested parties may submit offers to purchase the Bid

Assets. Given the time constraints, the Debtors, with the assistance of their advisors, have

structured the Bidding Procedures to promote active bidding by interested parties and to confirm

the highest or otherwise best offer reasonably available for the Bid Assets. Additionally, the

Bidding Procedures will allow the Debtors to conduct the Auction in a fair and transparent

manner that will encourage participation by financially capable bidders with demonstrated ability

to consummate a timely Sale Transaction.

        36.     Courts in this district have approved procedures similar to the proposed Bidding

Procedures in connection with chapter 11 asset sales. See, e.g., In re Alta Mesa Res., Inc., Case

No. 19-35133 (Bankr. S.D. Tex. 2019) [D.I. 317]; In re Geokinetics Inc., Case No. 18-33410

(Bankr. S.D. Tex. 2018) [D.I. 110 & 154]; In re Francis Drilling Fluids, Ltd., Case No. 18-

35441 (Bankr. S.D. Tex. 2018) [D.I. 236]; In re Cobalt Int’l Energy, Inc., [D.I. 299]; In re EMAS

CHIYODA Subsea Ltd., Case No. 17-31146 (Bankr. S.D. Tex. 2017) [D.I. 317]; In re Vanguard

Nat. Res., LLC, Case No. 17-30560 (Bankr. S.D. Tex. 2017) [D.I. 583]. Accordingly, the

Bidding Procedures should be approved because, under the circumstances, they are reasonable,

appropriate, and in the best interests of the Debtors, their estates, and all parties in interest.

B.      The Selection of the Stalking Horse Bidder and the Bid Protections Have Sound
        Business Purposes and Should Be Approved

        37.     As noted above, the Stalking Horse Agreement provides for a Break-Up Fee in an

amount equal to $15,000,000.00 to be paid to the Stalking Horse Bidder upon entry of an order

approving, or the consummation of, an Alternative Transaction. In addition, the Stalking Horse

Agreement provides for an Expense Reimbursement of up to $8,000,000.00 to be paid upon the

occurrence of certain events typical and customary for transactions of this kind. The Debtors



                                                   32
       Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 33 of 49




believe that the Bid Protections are necessary for the Stalking Horse Bidder to enter into the

Stalking Horse Agreement. In addition, the Debtors believe that the presence of a stalking horse

bidder will set a floor for the value of the Stalking Horse Assets and attract other potential buyers

to bid for such assets, thereby maximizing the realizable value of the Stalking Horse Assets for

the benefit of the Debtors’ estates, their creditors, and all other parties in interest. 14

        38.      Approval of the Bid Protections is governed by standards for determining the

appropriateness of bid protections in the bankruptcy context. The Fifth Circuit has held that bid

protections should be approved in chapter 11 cases so long as (a) there was no “self-dealing or

manipulation among the parties who negotiated” the bid protections, (b) the bid protections

“facilitated, not hindered, the auction process,” and (c) the bid protections are “reasonable in

comparison to the size of” the transaction. In re ASARCO LLC, 650 F.3d at 603.




        14
            For the avoidance of doubt, notwithstanding entry of the Bidding Procedures Order, the Bid Protections
shall (a) remain subject to the terms and conditions of the Stalking Horse Agreement and (b) will not be binding on
the Debtors until entry of the Sale Order.



                                                        33
       Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 34 of 49




        39.        Here, the Bid Protections squarely satisfy the ASARCO factors.                       First, as

demonstrated by the Magro Declaration, the Bid Protections are the product of good faith, arm’s

length negotiations between the Debtors and the Stalking Horse Bidder. See Magro Decl. ¶ 15.

Further, the Stalking Horse Agreement provisions relating to the Bid Protections (along with

other provisions of the Stalking Horse Agreement) were (a) scrutinized by the Debtors’

professionals, (b) reviewed with outside advisors, including the advisors of the Consultation

Parties, 15 through the marketing process, and (c) approved by the Debtors’ board of directors.

See Magro Decl. ¶ 19.

        40.        Second, the Debtors believe, based on their business judgment, that the Break-Up

Fee and the Expense Reimbursement will allow them to maximize the realizable value of the

Stalking Horse Assets without chilling bidding. The Bid Protections were a material inducement

for, and a condition of, the Stalking Horse Bidder’s agreement to enter into the Stalking Horse

Agreement. 16 Indeed, the Debtors believe that their ability to offer the Bid Protections to the

Stalking Horse Bidder is necessary to help ensure an adequate floor for the value of the Stalking

Horse Assets and to insist that competing bids be materially higher or otherwise better than the

Stalking Horse Bid, thereby providing the upside opportunity that the Debtors could potentially

realize a higher or otherwise better offer at any auction for the Stalking Horse Assets which,

absent such a bid floor, might otherwise never have been realized—a clear benefit to the

Debtors’ estates. See In re ASARCO LLC, 650 F.3d at 602 n.9 (5th Cir. 2011) (citation,

quotation marks, and internal modifications omitted) (“In the context of bankruptcy auction

sales, break-up fees are sometimes authorized because they provide an incentive for an initial

        15
             See supra note 6.
        16
           Moreover, the Stalking Horse Bidder would not have agreed to act as a stalking horse without the Bid
Protections. See Magro Decl. ¶¶ 16–17.



                                                       34
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 35 of 49




bidder to serve as a so-called ‘stalking horse,’ whose initial research, due diligence, and

subsequent bid may encourage later bidders.”); see also In re Demay Int’l LLC, 471 B.R. 510,

517 n.10 (S.D. Tex. 2012) (“In an effort to maximize recovery of value from an asset sale in

bankruptcy, before the court-supervised auction the debtor chooses a buyer, the ‘stalking horse,’

from a pool of bidders to make a first bid that establishes a framework for competitive bidding, a

floor, so that other bidders cannot low-ball the purchase price.”). Without the Court authorizing

the Debtors to offer the Bid Protections, the Debtors might lose the opportunity to obtain the

highest or otherwise best offer for the Stalking Horse Assets and would certainly lose the

downside protection that could be afforded by the existence of a Stalking Horse Bidder.

Furthermore, without the benefit of the Stalking Horse Bidder, the bids received at the Auction

for the Stalking Horse Assets could be substantially lower than the one offered by the Stalking

Horse Bidder.

       41.      Third, and finally, the Break-Up Fee and Expense Reimbursement are reasonable

and appropriate in light of the size, nature, and complexity of the transaction and the efforts that

will necessarily have been expended by the Stalking Horse Bidder. Moreover, the Break-up Fee

and the Expense Reimbursement are actually necessary to preserve the value of the Debtors’

estates. As set forth in the Magro Declaration, the Break-Up Fee represents only 3.5% of the

Purchase Price to be paid by the Stalking Horse Bidder. See Magro Decl. ¶ 18. Additionally,

both the Break-Up Fee and the Expense Reimbursement were negotiated in good faith, and both

were necessary to secure the Stalking Horse Bidder’s commitment under the Stalking Horse

Agreement. In sum, the Debtors’ ability to offer the Bid Protections enables them to ensure the

sale of the Stalking Horse Assets at a price they believe to be fair, while, at the same time,




                                                35
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 36 of 49




providing the Debtors with the potential of achieving an even greater benefit to the Debtors’

estates in the form of a higher or otherwise better offer for the Stalking Horse Assets.

       42.     Courts in this District have approved protections similar to the proposed Break-

Up Fee and Expense Reimbursement as reasonable, and consistent with the type and range of

bidding protections typically approved, and also have granted administrative expense status to

break-up fees that become due under the terms of a stalking horse purchase agreement. See, e.g.,

In re Alta Mesa Res., Inc., Case No. 19-35133 (Bankr. S.D. Tex. 2019) [D.I. 317]; In re

Geokinetics Inc., Case No. 18-33410 (Bankr. S.D. Tex. 2018) [D.I. 110 & 154]; In re Francis

Drilling Fluids, Ltd., Case No. 18-35441 (Bankr. S.D. Tex. 2018) [D.I. 236]; In re Cobalt Int’l

Energy, Inc., [D.I. 299]; In re EMAS CHIYODA Subsea Ltd., Case No. 17-31146 (Bankr. S.D.

Tex. 2017) [D.I. 317]; In re Vanguard Nat. Res., LLC, Case No. 17-30560 (Bankr. S.D. Tex.

2017) [D.I. 583].

       43.     Accordingly, the Debtors submit that the Bid Protections reflect a sound business

purpose, are fair and appropriate under the circumstances, and should be approved. See Magro

Decl. ¶¶ 18–19.

C.     The Proposed Sale Transactions Satisfy the Requirements of Section 363 of the
       Bankruptcy Code

       44.     Section 363(b)(1) of the Bankruptcy Code empowers the Court to allow a debtor

to “use, sell, or lease, other than in the ordinary course of business, property of the estate.”

11 U.S.C. § 363(b)(1). A debtor’s decision to use, sell, or lease assets outside the ordinary

course of business must be based upon the sound business judgment of the debtor. See, e.g.,

Inst’l Creditors of Cont’l Air Lines, Inc. v. Cont’l Air Lines, Inc. (In re Cont’l Air Lines, Inc.),

780 F.2d 1223, 1226 (5th Cir. 1986) (“[F]or the debtor-in-possession or trustee to satisfy its

fiduciary duty to the debtor, creditors and equity holders, there must be some articulated business



                                                 36
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 37 of 49




justification for using, selling, or leasing the property outside the ordinary course of business.”);

In re Crutcher Res. Corp., 72 B.R. 628, 631 (Bankr. N.D. Tex. 1987) (“A Bankruptcy Judge has

considerable discretion in approving a § 363(b) sale of property of the estate other than in the

ordinary course of business, but the movant must articulate some business justification for the

sale . . . .”); In re Cowin, No. 13-30984, 2014 WL 1168714, at *38 (Bankr. S.D. Tex. Mar. 21,

2014); In re St. Marie Clinic PA, No. 10-70802, 2013 WL 5221055, at *9 (Bankr. S.D. Tex.

Sept. 17, 2013); In re Particle Drilling Techs., Inc., No. 09-33744, 2009 WL 2382030, at *2

(Bankr. S.D. Tex. July 29, 2009); In re San Jacinto Glass Indus., Inc., 93 B.R. 934, 944 (Bankr.

S.D. Tex. 1988).

       45.     Courts emphasize that the business judgment rule is not an onerous standard and

that it “is flexible and encourages discretion.” In re ASARCO, L.L.C., 650 F.3d at 601. “Great

judicial deference is given to the [debtor’s] exercise of business judgment.” GBL Holding Co.,

Inc. v. Blackburn/Travis/Cole, Ltd. (In re State Park Bldg. Grp., Ltd.), 331 B.R. 251, 254 (N.D.

Tex. 2005). A sound business justification for the sale of a debtor’s assets outside the ordinary

course of business exists where such sale is necessary to preserve the value of the estate for the

benefit of creditors and interest holders. See, e.g., In re Lionel Corp., 722 F.2d 1063 (2d Cir.

1983); Four B. Corp. v. Food Barn Stores, Inc. (In re Food Barn Stores, Inc.), 107 F.3d 558, 566

n.16 (8th Cir. 1997) (recognizing the paramount goal of any proposed sale of property of estate is

to maximize value). As long as a transaction “appears to enhance a debtor’s estate, court

approval of a debtor in possession’s decision to [enter into the transaction] should only be

withheld if the debtor’s judgment is clearly erroneous, too speculative, or contrary to the

Bankruptcy Code.” Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d 1303, 1309 (5th Cir.

1985) (citation and internal quotation marks omitted).




                                                 37
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 38 of 49




       46.     Moreover, section 105(a) of the Bankruptcy Code confers a bankruptcy court with

broad equitable powers to confer relief in alignment with bankruptcy policies. See U.S. v. Sutton,

786 F.2d 1305, 1308 (5th Cir. 1986) (holding that section 105(a) of the Bankruptcy Code

authorizes bankruptcy courts to fashion equitable remedies “in a manner consistent with the

provisions of the Bankruptcy Code”); see also In re Young, 416 F. App’x 392, 398 (5th Cir. 2011)

(recognizing that “[s]ection 105(a) of Title 11 permits the bankruptcy court to exercise broad

authority”); In re Trevino, 599 B.R. 526, 542–43 (Bankr. S.D. Tex. 2019) (noting that the

bankruptcy court has “broad authority” under section 105(a) of the Bankruptcy Code); In re

Padilla, 379 B.R. 643, 667 (Bankr. S.D. Tex. 2007) (citations omitted) (“Section 105(a) gives

bankruptcy courts broad authority to take actions necessary and appropriate for administering

and enforcing the Bankruptcy Code and . . . ‘authorizes a bankruptcy court to fashion such orders

as are necessary to further the purposes of the substantive provisions of the Bankruptcy Code.’”).

       1.      The Debtors Have Demonstrated a Sound Business Justification for the
               Potential Sale Transaction

       47.     As set forth above and in the Magro Declaration, a strong business justification

exists for the sale of the Bid Assets as described herein. An orderly but expeditious sale of the

Bid Assets is critical to maximizing the value of the Debtors’ estates and recoveries for the

Debtors’ economic stakeholders. Additionally, the Debtors believe that a consummated Sale

Transaction will produce fair and reasonable purchase prices for the Bid Assets. The Stalking

Horse Bid is an offer to purchase the Stalking Horse Assets for a price that the Debtors, with the

advice of their advisors, already have determined to be fair and reasonable.

       48.     In addition, the Bidding Procedures were carefully designed to facilitate a

flexible, robust, and competitive bidding process. The Debtors are poised to capitalize on the

progress made during the prepetition and post-petition phases of their sale process (e.g., the



                                                38
         Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 39 of 49




communication by Evercore with nearly 100 strategic and financial parties and the dissemination

of confidential diligence information to 38 of those parties) to maximize the value of the Bid

Assets sold at the Auction. The Bidding Procedures provide an appropriate framework for the

Debtors to review, analyze, and compare all bids received to determine which bids are in the best

interests of the Debtors’ estates and their economic stakeholders. Sale Transactions governed by

the Bidding Procedures undoubtedly will serve the important objectives of obtaining not only a

fair and reasonable purchase price for the Bid Assets, but also the highest or otherwise best value

for the Bid Assets, which will inure to the benefit of all parties in interest in the Chapter 11

Cases.

         49.   Finally, nothing in the Bidding Procedures require the Debtors’ board of directors

to take any action, or to refrain from taking any action, with respect to the Bidding Procedures, to

the extent that the Debtors’ board of directors determines, or based on the advice of counsel, that

taking such action, or refraining from taking such action, as applicable, is required to comply

with applicable law or its fiduciary duties under applicable law, thereby allowing the Debtors to

pivot to an alternative transaction, including a plan of reorganization.

         50.   For the foregoing reasons, the Debtors submit that a strong business justification

exists for approving the Sale Transactions and related relief requested herein.

         2.    The Noticing Procedures Are Reasonable and Appropriate

         51.   “[A] sale of assets under § 363 requires notice and a hearing and is subject to

court approval.” In re Moore, 608 F.3d 253, 262 (5th Cir. 2010). The Noticing Procedures

described above are reasonably calculated to provide all of the Debtors’ known creditors and all

other parties in interest with adequate, timely notice of, among other things, the proposed Sale

Transaction, Bidding Procedures, Auction, and Sale Hearing.




                                                 39
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 40 of 49




D.     The Successful Bidder Should Be Entitled to the Protections of Section 363(m) of the
       Bankruptcy Code

       52.      Section 363(m) of the Bankruptcy Code protects a good faith purchaser’s interest

in property purchased from a debtor notwithstanding that the sale conducted under section

363(b) is later reversed or modified on appeal. Specifically, section 363(m) of the Bankruptcy

Code states the following:

                The reversal or modification on appeal of an authorization under
                [section 363(b) of the Bankruptcy Code] . . . does not affect the
                validity of a sale . . . to an entity that purchased . . . such property
                in good faith, whether or not such entity knew of the pendency of
                the appeal, unless such authorization and such sale . . . were stayed
                pending appeal.

11 U.S.C. § 363(m). “The purpose of § 363(m)’s stay requirement is in furtherance of the policy

of not only affording finality to the judgment of the bankruptcy court, but particularly to give

finality to those orders and judgments upon which third parties rely.” In re TMT Procurement

Corp., 764 F.3d 512, 521 (5th Cir. 2014) (citation and internal quotation marks omitted).

“Section 363(m) patently protects, from later modifications on appeal, an authorized sale where

the purchaser acted in good faith and the sale was not stayed pending appeal.” Matter of

Gilchrist, 891 F.2d 559, 560 (5th Cir. 1990).

       53.      Although the Bankruptcy Code does not define “good faith,” the Fifth Circuit has

defined the term in two ways in the context of section 363(m) of the Bankruptcy Code. First, it

has “defined a ‘good faith purchaser’ as ‘one who purchases the assets for value, in good faith,

and without notice of adverse claims.’” TMT Procurement Corp., 764 F.3d at 521 (citations

omitted).    Second, the Fifth Circuit has “noted that ‘the misconduct that would destroy a

purchaser’s good faith status . . . involves fraud, collusion between the purchaser and other

bidders of the trustee, or an attempt to take grossly unfair advantage of other bidders.’” Id.

(citations omitted).


                                                  40
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 41 of 49




       54.     The Debtors submit that the Successful Bidder is or would be a “good faith

purchaser” within the meaning of section 363(m) of the Bankruptcy Code. The Debtors and the

Stalking Horse Bidder have entered into the Stalking Horse Agreement without collusion, in

good faith, and through extensive arm’s length negotiations. See Magro Dec’l ¶¶ 14–17. Indeed,

the Stalking Horse Bidder and the Debtors have engaged separate counsel and other professional

advisors to represent their respective interests in the negotiation of the Stalking Horse Agreement

and with respect to the sale process generally.       To the best of the Debtors’ knowledge,

information, and belief, no party has engaged in any conduct that would cause or permit a Sale

Transaction, including the Stalking Horse Agreement, to be set aside under section 363(m) of the

Bankruptcy Code.

       55.     Further, as set forth above, the Bidding Procedures are designed to produce a fair

and transparent competitive bidding process. Each Qualified Bidder participating in the Auction

must confirm that it has not engaged in any collusion with respect to the bidding or the sale of

any of the Bid Assets. See Bidding Procedures § 5. Any asset purchase agreement with a

Successful Bidder executed by the Debtors will be negotiated at arm’s length and in good faith.

Accordingly, the Debtors seek a finding that any Successful Bidder under the Bidding

Procedures is a good faith purchaser and is entitled to the full protections afforded by section

363(m) of the Bankruptcy Code.

       56.     Based on the foregoing, the Debtors submit that the Debtors’ entrance into a Sale

Transaction pursuant to the Bidding Procedures is a sound exercise of the Debtors’ business

judgment and should be approved as a good faith transaction.




                                                41
       Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 42 of 49




E.      The Bid Assets Should Be Sold Free and Clear of Liens, Claims, Interests, and
        Encumbrances Under Section 363(f) of the Bankruptcy Code

        57.     In the interest of attracting the best offers, the Bid Assets should be sold free and

clear of any and all liens, claims, interests, and other encumbrances, in accordance with section

363(f) of the Bankruptcy Code, with any such liens, claims, interests, and encumbrances

attaching to the proceeds of the applicable sale.          Section 363(f) of the Bankruptcy Code

authorizes a debtor to sell assets free and clear of liens, claims, interests, and encumbrances of an

entity other than the estate if any one of the following conditions is satisfied:

                a.      applicable non-bankruptcy law permits sale of such property free and clear
                        of such interest;

                b.      such entity consents;

                c.      such interest is a lien and the price at which such property is to be sold is
                        greater than the value of all liens on such property;

                d.      such interest is in bona fide dispute; or

                e.      such entity could be compelled, in a legal or equitable proceeding, to
                        accept a money satisfaction of such interest.

11 U.S.C. § 363(f); see also In re Patriot Place, Ltd., 486 B.R. 773, 814 (Bankr. W.D. Tex.

2013) (“Section 363(f) of the Bankruptcy Code sets forth five alternative conditions that must be

satisfied by the Court to authorize a debtor . . . to sell its property . . . free and clear of interests

of a third party.”).

        58.     Section 363(f) of the Bankruptcy Code is supplemented by section 105(a) of the

Bankruptcy Code, which provides that “[t]he Court may issue any order, process or judgment

that is necessary or appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C.

§ 105(a); see also Volvo White Truck Corp. v. Chambersburg Beverage, Inc. (In re White Motor

Credit Corp.), 75 B.R. 944, 948 (Bankr. N.D. Ohio 1987) (“Authority to conduct such sales [free




                                                   42
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 43 of 49




and clear of claims] is within the court’s equitable powers when necessary to carry out the

provisions of [the Bankruptcy Code].”).

       59.     The Debtors submit that the sale of the Bid Assets free and clear of liens, claims,

interests, and encumbrances will satisfy one or more of the requirements under section 363(f) of

the Bankruptcy Code. For example, to the extent a party objects to the Sale Transaction on the

basis that it holds a prepetition lien or encumbrance on the Bid Assets, the Debtors believe that

any such party could be compelled to accept a monetary satisfaction of such claims, under

section 363(f)(5) of the Bankruptcy Code, or that such lien is in bona fide dispute, under section

363(f)(4) of the Bankruptcy Code.

       60.     Moreover, the Debtors have sent or will send the Sale Notice to any purported

prepetition lienholders. If such lienholders (other than the Prepetition Secured Parties) do not

object to the proposed Sale Transaction, then their consent should be presumed. Accordingly,

the Debtors request that, unless a party asserting a prepetition lien, claim, interest, or

encumbrance on any of the Bid Assets (other than with respect to any Assumed Liabilities and

Permitted Encumbrances (as such terms are defined in the Stalking Horse Agreement)) timely

objects to this Motion, such party shall be deemed to have consented to any Sale Transaction

approved at the Sale Hearing. See Hargave v. Twp. of Pemberton, 175 B.R. 855, 858 (Bankr.

D.N.J. 1994) (by not objecting to a sale motion, a creditor is deemed to consent to the relief

requested therein).

       61.     The purpose of a sale order purporting to authorize the transfer of assets free and

clear of all claims, liens, interests, and encumbrances would be defeated if claimants could

thereafter use the transfer as a basis to assert claims against a purchaser arising from a seller’s

pre-sale conduct. Moreover, without such assurances, potential bidders may choose not to




                                                43
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 44 of 49




participate in the Auction or the Stalking Horse Bidder would not have submitted the Stalking

Horse Bid, to the detriment of the Debtors’ economic stakeholders. Accordingly, the Debtors

request that the Court authorize the sale of the Bid Assets free and clear of any liens, claims,

interests, and encumbrances (with the exception of Permitted Encumbrances and Assumed

Liabilities) in accordance with section 363(f) of the Bankruptcy Code, subject to such liens,

claims, interests, and encumbrances (including, without limitation, all DIP Liens, DIP

Superpriority Claims, Receivables Superpriority Claims, the Prepetition Obligations, and the

Prepetition Liens (as each is defined in the DIP Order)) attaching to the proceeds thereof in the

same order of relative priority and with the same validity, force, and effect as prior to such sale.

F.     The Assumption and Assignment of Executory Contracts and Unexpired Leases
       Should Be Authorized

       62.     Section 365(a) of the Bankruptcy Code provides that a debtor in possession

“subject to the court’s approval, may assume or reject any executory contract or unexpired lease

of the debtor.” 11 U.S.C. § 365(a). The decision to assume or reject an unexpired lease is a

matter within the “business judgment” of the debtor. Sharon Steel Corp. v. Nat’l Fuel Gas

Distrib. Corp. (In re Sharon Steel Corp.), 872 F.2d 36, 40 (3d Cir. 1989).              “As long as

assumption of a lease appears to enhance a debtor’s estate, court approval of a debtor-in-

possession’s decision to assume the lease should only be withheld if the debtor’s judgment is

clearly erroneous, too speculative, or contrary to the provisions of the Bankruptcy Code.”

Richmond Leasing Co., 762 F.2d at 1309 (citation and internal quotation marks omitted).

       63.     Any assumption of the Proposed Assumed Contracts is an exercise of the

Debtors’ sound business judgment because the transfer of such Contracts and Leases is necessary

to the Debtors’ ability to obtain the best value for their Bid Assets. The assumption and

assignment of Proposed Assumed Contracts is a critical component of the Stalking Horse



                                                 44
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 45 of 49




Agreement and the value of the Bid Assets. Given that consummation of the Sale Transaction is

critical to the Debtors’ efforts to maximize value for their estates and stakeholders, the Debtors’

assumption of Proposed Assumed Contracts is an exercise of sound business judgment and,

therefore, should be approved.

       64.     The consummation of any Sale Transaction involving the assignment of a

Proposed Assumed Contract will be contingent upon the Debtors’ compliance with the

applicable requirements of section 365 of the Bankruptcy Code.          Section 365(b)(1) of the

Bankruptcy Code requires that any outstanding defaults under the Contracts and Leases to be

assumed be cured and that the Debtors provide adequate assurance that such defaults will be

promptly cured. The Debtors’ assumption and assignment of Proposed Assumed Contracts will

be contingent upon payment of the Cure Costs and effective only upon the closing of an

applicable Sale Transaction or any later applicable effective date. As set forth above, the

Debtors propose to file with the Court and serve on each Counterparty a Potential Assumption

and Assignment Notice, which will set forth the Debtors’ good faith calculations of Cure Costs

with respect to each Contract and Lease listed on such Potential Assumption and Assignment

Notice and Proposed Assumption and Assignment Notice. As a result, Counterparties will have

a meaningful opportunity to raise any objections to the proposed assumption of their respective

Contracts and Leases in advance of the applicable Sale Hearing.

       65.     Pursuant to section 365(f)(2) of the Bankruptcy Code, a debtor may assign an

executory contract if “adequate assurance of future performance by the assignee of such contract

or lease is provided.” The meaning of “adequate assurance of future performance” depends on

the facts and circumstances of each case, but should be given “practical, pragmatic construction.”

In re Texas Health Enters., Inc., 246 B.R. 832, 834 (Bankr. E.D. Tex. 2000) (citation and




                                                45
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 46 of 49




internal quotation marks omitted). “Assurance of future performance is adequate if performance

is likely (i.e. more probable than not) and the degree of assurance necessary to be deemed

adequate falls considerably short of an absolute guaranty.” In re PRK Enters., Inc., 235 B.R.

597, 603 (Bankr. E.D. Tex. 1999). “Some helpful factors include ‘whether the debtor’s financial

data indicated its ability to generate an income stream sufficient to meet its obligations, the

general economic outlook in the debtor's industry, and the presence of a guarantee.’” In re Texas

Health Enters. Inc., 72 Fed. App’x 122, 126 (5th Cir. 2003) (citation omitted).

       66.     As set forth above and in the Bidding Procedures, for a bid to qualify as a

Qualified Bid, a Potential Bidder must include with its bid information regarding its ability (and

the ability of its designated assignee, if applicable) to perform under applicable Proposed

Assumed Contracts. Each affected Counterparty will have an opportunity to object to the ability

of the Successful Bidder (including the Stalking Horse Bidder) to provide adequate assurance as

provided in the Bidding Procedures Order. In addition, the Stalking Horse Bidder submits that it

is able to provide adequate assurance of its ability to perform under the applicable Proposed

Assumed Contracts. Further, the Debtors propose to file with the Court a Proposed Assumption

and Assignment Notice, which will set forth a list of the Proposed Assumed Contracts, in

advance of the Sale Hearing. To the extent necessary, the Debtors will present facts at the Sale

Hearing to show the financial wherewithal, willingness, and ability of the Successful Bidder

(including the Stalking Horse Bidder) to perform under the Proposed Assumed Contracts.

       67.     In addition, to facilitate the assumption and assignment of Proposed Assumed

Contracts, the Debtors further request that the Court find that all anti-assignment provisions

contained therein, whether such provisions expressly prohibit or have the effect of restricting or




                                               46
         Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 47 of 49




limiting assignment of such Assumed Contract or Assumed Lease, are unenforceable and

prohibited pursuant to section 365(f) of the Bankruptcy Code. 17

                     Waiver of Bankruptcy Rules 6004(a), 6004(h), and 6006(d)

         68.      To implement successfully the relief sought herein, the Debtors request that the

Court find that notice of the Motion is adequate under Bankruptcy Rule 6004(a) under the

circumstances. The Debtors also request that the Court waive the stay imposed by Bankruptcy

Rule 6004(h), which provides that “[a]n order authorizing the use, sale, or lease of property other

than cash collateral is stayed until the expiration of 14 days after entry of the order, unless the

court orders otherwise.” Fed. R. Bankr. P. 6004(h). The Debtors further request that the Court

waive the stay imposed by Bankruptcy Rule 6006(d), which provides that an “order authorizing

the trustee to assign an executory contract or unexpired lease under section 365(f) is stayed until

the expiration of 14 days after the entry of the order, unless the court orders otherwise.” Fed. R.

Bankr. P. 6006(d).

         69.      The proposed Sale Transaction should be consummated as soon as practicable to

allow the Debtors to maximize value for their estates and stakeholders. Accordingly, the Debtors

request that the Bidding Procedures Order, the Sale Order, and any order authorizing the

assumption and assignment of a Proposed Assumed Contract in connection with a Sale

Transaction be effective immediately upon entry and that the 14-day stay imposed by

Bankruptcy Rules 6004(h) and 6006(d) be waived.

    17
       Section 365(f)(1) of the Bankruptcy Code provides in part that, “notwithstanding a provision in an executory
contract or unexpired lease of the debtor, or in applicable law, that prohibits, restricts, or conditions the assignment
of such contract or lease, the trustee may assign such contract or lease . . . .” 11 U.S.C. § 365(f)(1). Section
365(f)(3) of the Bankruptcy Code further provides that, “[n]otwithstanding a provision in an executory contract or
unexpired lease of the debtor, or in applicable law that terminates or modifies, or permits a party other than the
debtor to terminate or modify, such contract or lease or a right or obligation under such contract or lease on account
of an assignment of such contract or lease, such contract, lease, right, or obligation may not be terminated or
modified under such provision because of the assumption or assignment of such contract or lease by the trustee.” 11
U.S.C. § 365(f)(3)



                                                          47
      Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 48 of 49




                                              Notice

       70.     Notice of this Motion has been provided by telecopy, email, overnight courier,

and/or hand delivery to (a) the U.S. Trustee, (b) Akin Gump Strauss Hauer & Feld LLP, as

counsel to the Committee, (c) White & Case LLP, as counsel to the Agents, (d) indenture trustee

under the Debtors’ prepetition unsecured bond indenture, (e) Paul, Weiss, Rifkind, Wharton &

Garrison LLP, as counsel to an ad hoc group of prepetition unsecured noteholders, (f) the

Securities and Exchange Commission, (g) the Internal Revenue Service, (h) the United States

Attorney’s Office for the Southern District of Texas, (i) the state attorneys general for states in

which the Debtors conduct business, (j) all other parties asserting a security interest in the assets

of the Debtors to the extent reasonably known to the Debtors, and (k) any party that has

requested notice pursuant to Bankruptcy Rule 2002. A copy of this Motion and any Order

approving it will also be made available on the Debtors’ case information website located at

https://dm.epiq11.com/SouthernFoods. The Debtors submit that, under the circumstances, the

forgoing notice constitutes due, sufficient, and appropriate notice and complies with section

102(1) of the Bankruptcy Code, Bankruptcy Rule 2002, 4001(b) and (c), 6004(a), and 9014, the

Local Rules, and the Complex Case Rules and no other or further notice is required.

       WHEREFORE the Debtors respectfully request that the Court enter the Bidding

Procedures Order and, after the Sale Hearing, the Sale Order, granting the relief requested herein

and such other and further relief as the Court may deem just and proper.




                                                 48
     Case 19-36313 Document 925 Filed in TXSB on 02/17/20 Page 49 of 49




Dated:   February 17, 2020
         Houston, Texas
                                    Respectfully submitted,
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                                     49
